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          23-1146(CON)
         United States Court of Appeals
             for the Second Circuit


                      E. JEAN CARROLL,
                              Plaintiff-Counter-Defendant-Appellee,

                             -against-


           DONALD J. TRUMP, in his personal capacity,
                         Defendant-Counter-Claimant-Appellant.


ON APPEAL FROM THE UNITED STATES DISTRICT COURT
     FOR THE SOUTHERN DISTRICT OF NEW YORK

     BRIEF FOR DEFENDANT-COUNTER-
          CLAIMANT-APPELLANT

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      Defendant-Appellant,        Donald       J.   Trump   (“Defendant-Appellant”),

respectfully submits this memorandum of law in support of his appeal from the July

5, 2023 Opinion and Order (SPA63-108) of the United States District Court for the

Southern District of New York, the Honorable Lewis A. Kaplan, denying Defendant-

Appellant’s Motion for Summary Judgment, and the August 7, 2023 Memorandum

Opinion (SPA110-133) Granting Plaintiff’s Motion to Dismiss Defendant’s

Counterclaim and Strike Certain Affirmative Defenses.

                      ISSUES PRESENTED FOR REVIEW

   1. Did the District Court err by not permitting Defendant-Appellant to raise

presidential immunity as a defense?

   2. Did the District Court err in finding that Defendant-Appellant’s conduct did

not fall within the outer perimeter of his presidential duties?

   3. Was the District Court permitted to retain jurisdiction of the underlying matter

after Defendant-Appellant filed an interlocutory appeal sounding in immunity?

   4. Did the District Court properly conclude that the challenged statements were

defamatory per se, even where the statements did not make reference to Plaintiff-

Appellee’s trade or profession?

              FACTUAL AND PROCEDURAL BACKGROUND
      In June of 2019, Plaintiff-Appellee, E. Jean Carroll (“Plaintiff-Appellee”)

made public accusations against Defendant-Appellant, then-sitting President of the


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United States, alleging that he had sexually assaulted her in the mid-1990s. A120.

In response, Defendant-Appellant issued three separate statements in June 2019

publicly refuting her allegations. The first statement was emailed by the Deputy

White House Press Secretary to the press denying her accusations. A573. Defendant-

Appellant issued the second statement while responding to reporters’ wide-ranging

questions on the South Lawn of the White House on his way to the presidential

helicopter, Marine One, and denied Plaintiff-Appellee’s allegations a second time.

A575-587. The third statement was issued in response to questions from reporters

during a 45-minute interview in the Oval Office, where Defendant-Appellant again

reaffirmed his denial of the accusations. A589-592.

      On November 4, 2019, Plaintiff-Appellee commenced an action in the

Supreme Court of the State of New York, New York County, entitled Carroll v.

Trump, Index No. 160694/2019, raising a single defamation claim against

Defendant-Appellant. A106-134.

      The United States subsequently certified that Defendant-Appellant’s conduct

was within the scope of his presidential duties under the Westfall Act. SPA4. On this

basis, the action was removed to the Southern District of New York (the “District

Court”) pursuant to 28 U.S.C. § 2679(d)(2). See generally Carroll v. Trump, 49 F.4th

759, 763 (2d Cir. 2022). The Westfall Act immunity was the subject of a multi-year

appeal before this Court, which was eventually remanded back to the District Court.



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Carroll v. Trump, 66 F.4th 91, 94 (2d Cir. 2023). The issue of whether Defendant-

Appellant was subject to immunity under the Westfall Act was ultimately rendered

moot. A1044-1045.

      On December 22, 2022, Defendant-Appellant moved for summary judgment

dismissing this action on the basis that, among other things, Defendant-Appellant is

shielded by presidential immunity and the challenged statements are not defamatory

per se. A50-396.

      On January 12, 2023, Plaintiff-Appellee filed an opposition to Defendant’s

Motion for Summary Judgment, asserting that Defendant-Appellant had previously

waived his ability to assert presidential immunity. A403-446.

      Thereafter, on January 19, 2023, Defendant-Appellant filed a reply which

argued, among other things, that presidential immunity is a non-waivable

jurisdictional question pursuant to the separation-of-powers doctrine. A880-894.

Alternatively, Defendant-Appellant also sought leave to assert presidential

immunity as a defense under Rule 15(a)(2) to the extent the District Court found that

it had been waived. A889-891.

      In an Order dated July 5, 2023 (the “July Order”), the District Court denied

Defendant-Appellant’s motion for summary judgment, finding, among other things,

that (i) presidential immunity is waivable and was waived by Defendant-Appellant;

(ii) Defendant-Appellant’s request for leave to amend is unwarranted because the



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proposed amendment is futile and unfairly prejudicial to Plaintiff-Appellee; and (iii)

Defendant-Appellant’s statements were libel per se because they could have been

construed as tending to disparage Plaintiff-Appellee in her profession. See generally,

SPA63-108.

      On July 19, 2023, Defendant-Appellant timely appealed the July Order.

SPA109.

      Meanwhile, Plaintiff-Appellee had previously sought leave to amend her

Complaint on May 22, 2023, which the District Court granted on June 13, 2023.

A1046-1047. Thereafter, on June 27, 2023, Defendant-Appellant timely filed his

Answer to the Amended Complaint, which asserted the defense of presidential

immunity. A1048-1074.

      On July 11, 2023, Plaintiff-Appellee filed a Motion to Dismiss Defendant-

Appellant’s Counterclaim and to Strike. A1075-1193. With respect to Defendant-

Appellant’s presidential immunity defense, Plaintiff-Appellee proffered only a

sparse argument that the defense should be stricken because the District Court

previously rejected it in its July Order. A1111-1112. Defendant-Appellant opposed

the motion on July 25, 2023, arguing that he permissibly raised his presidential

immunity defense in response to Plaintiff-Appellee’s newly-amended complaint,

which “supersede[d] the original, and render[ed] it of no legal effect.” Shields v.

Citytrust Bancorp, 25 F.3d 1124, 1128 (2d Cir. 1994). A1199-1233. Plaintiff-



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Appellee submitted her reply on August 1, 2023, arguing that Defendant-Appellant’s

presidential immunity defense is excluded by Shields because it relates to his

willingness to submit to judicial resolution. AXXXXXXXX.

      In an Order dated August 7, 2023 (the “August Order”), the District Court

granted Plaintiff-Appellee’s motion and struck presidential immunity as a defense.

ASPA110-133. Specifically, the Defendant-Appellant ruled that Defendant-

Appellant was not permitted to raise his presidential immunity defense because it

had already been waived. SPA131.

      On August 10, 2023, Defendant-Appellant timely appealed the August Order,

which has since been consolidated with the appeal of the July Order, to comprise the

instant appeal. SPA134.

      On July 27, 2023, Defendant-Appellant filed a motion before the District

Court to stay all proceedings pending resolution of the instant appeal, arguing both

that a stay would cause Defendant-Appellant irreparable harm, and that the District

Court was divested of jurisdiction. A1236. The District Court denied Defendant-

Appellant’s request, finding both that a stay is not warranted under the relevant

standard and certifying Defendant-Appellant’s appeal as “frivolous,” thereby

allowing the District Court to retain jurisdiction. A1310-1326.




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                        JURISDICTIONAL STATEMENT

      This action was initially commenced by Plaintiff-Appellee in New York State

Supreme Court, New York County. Pursuant to the Westfall Act, codified at 28

U.S.C. §§ 2671, 2674 and 2679, the United States Department of Justice certified

that Defendant-Appellant “was acting within the scope of his office as the President

of the United States at the time of the alleged conduct,” and, as a result, the action

was removed to the District Court pursuant to Section 2679(d)(2).

      This appeal is before this Court by virtue of Defendant-Appellant’s appeals of

the July Order and the August Order (collectively, the “Orders”). The Orders are

immediately appealable under the collateral order doctrine since they both pertain to

the District Court’s denial of Defendant-Appellant’s presidential immunity defense.

See Nixon v. Fitzgerald, 457 U.S. 731 (1982) (denial of presidential immunity is

immediately appealable). In addition, this Court has routinely held that a denial of

immunity based on a theory of waiver is immediately appealable, see, e.g., EM Ltd.

v. Banco Cent., 800 F.3d 78, 82 (2d Cir. 2015) (finding that foreign sovereign

immunity was waived was immediately appealable); Blue Ridge v. Republic of

Argentina, 735 F.3d 72, 79-81 (2d Cir. 2013) (same). Therefore, this Court has

jurisdiction to hear the instant appeal.




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                         SUMMARY OF THE ARGUMENT

      This appeal presents several unsettled questions of law of profound public

importance. The answers to these questions will reverberate well beyond the instant

dispute; if correctly resolved, this Court’s decision will serve to maintain the delicate

balance between the Judicial Branch and Executive Branch and to strengthen the

President’s ability to make challenging and consequential decisions without fear or

apprehension.

      Pursuant to Article II of the United States Constitution, the President is vested

with the sole responsibility for an entire branch of government. His job entails

“innumerable functions” which require him to “make the most sensitive and far-

reaching decisions entrusted to any official under [the] constitutional scheme.”

Nixon, 457 U.S. at 752-56. Given the “special nature” of his office and the “singular

importance” of his duties, the Supreme Court has held that the President is entitled

to “absolute immunity from damages liability predicated on his official acts.” Id. at

749. This wide-spanning immunity—‘presidential immunity’—is an “essential

Presidential prerogative” that is firmly “rooted in the constitutional tradition of the

separation of powers.” Id. at 743. The Supreme Court has consistently acknowledged

that “there exists the greatest public interest” in maintaining this protection, and that

its absence would “raise unique risks to the effective functioning of government.”

Id. at 752.



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      The underlying action, which sounds in a single claim for defamation, seeks

to impute civil liability upon Defendant-Appellant, then-sitting President of the

United States, for publicly responding to a heinous allegation levied against him by

Plaintiff-Appellee. However, for the many reasons discussed herein, Defendant-

Appellee’s conduct is not properly the subject of a civil damages claim since his

conduct is shielded by presidential immunity. The District Court’s rejection of this

defense was clearly made in error; more importantly, this flawed decision will have

wide-ranging implications which threaten to disrupt the separation-of-powers

between the Judicial Branch and the Executive Branch, and significantly diminish

the latitude of protection afforded to all Presidents under the presidential immunity

doctrine. Accordingly, the District Court’s holding must be reversed on several

grounds.

      First, the District Court’s finding that Defendant-Appellant waived his

presidential immunity defense is at odds with centuries of constitutional

jurisprudence. As evidenced by Supreme Court decisions dealing with similar inter-

branch conflicts between the judiciary and the President, presidential immunity

implicates the utmost separation-of-powers concerns and goes toward the larger

question of whether a court is able to exercise jurisdiction over a case at all. As such,

this defense is simply not waivable.




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      Further, even if it is waivable, the District Court erred in denying Defendant-

Appellant’s request for leave to amend to assert presidential immunity as a defense.

This is particularly true in light of the liberal amendment standard, the strength of

Defendant-Appellant’s presidential immunity argument, and the important

constitutional considerations at play.

      In addition, even assuming arguendo that presidential immunity is waivable,

was in fact waived, and leave to amend was rightfully denied by the District Court,

Defendant-Appellant still properly asserted presidential immunity by pleading it in

his Answer to Plaintiff-Appellee’s Amended Complaint, which “supersede[d] the

original [complaint], and render[ed] it of no legal effect.” Shields, 25 F.3d at 1128.

Thus, it is incontrovertible that Defendant-Appellant sufficiently invoked his

presidential immunity defense.

      Second, presidential immunity is a meritorious defense. It is simply beyond

dispute that it is part of a President’s official responsibilities to address issues of

national concern and to engage with the press. Further, as the leader of the nation

and figurehead for the American people, the President has a duty to address attacks

on his character which inevitably threaten his ability to effectively govern the

country. Thus, Defendant-Appellant could not sit idly by while a media frenzy

erupted around allegations that attempted to paint him as a rapist. He had a

presidential duty to respond, and to address the media and the nation as a whole.



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Thus, his three statements—which were disseminated to the media through an

official White House press release and on-location interviews at the White House

lawn—were irrefutably part of his official responsibilities and are therefore

immunized from liability. Indeed, as recognized by the Supreme Court, this is

precisely the type of conduct that the presidential immunity doctrine is intended to

protect, and why it is so necessary that the President be afforded the “maximum

ability to deal fearlessly and impartially with the duties of his office.” Nixon, 457

U.S. at 752. The District Court’s denial of Defendant-Appellant’s presidential

immunity defense, therefore, was reversible error.

      Third, even setting aside the question of presidential immunity, Plaintiff-

Appellee’s defamation claim still fails as a matter of law because the subject

statements were not targeted towards Plaintiff-Appellee’s professional competence

and, therefore, cannot be considered to be defamatory per se. Since Plaintiff-

Appellee also failed to substantiate, or even allege, any entitlement to special

damages, her cause of action is deficient.

      In sum, Plaintiff-Appellee’s complaint is legally defective and worthy of

dismissal on multiple grounds. Given the spuriousness of her claim, and the

important constitutional and institutional interests at stake, the instant controversy

should not be permitted to upend decades of separation-of-powers jurisprudence nor

erode the wide-spanning protections afforded under the presidential immunity



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doctrine. Therefore, for the reasons outlined herein, the District Court’s decision

must be overturned.

                              LEGAL ARGUMENT

I.    Defendant-Appellant Properly Invoked His Presidential Immunity
      Defense

      Historical Supreme Court jurisprudence, coupled with the modern

understanding of the separation-of-powers framework, confirms that presidential

immunity, when applicable, poses an inter-branch conflict which creates an

insurmountable hurdle to a court’s jurisdiction. This constitutional principle

forecloses the District Court's finding that Defendant-Appellant waived his right to

presidential immunity. Moreover, even assuming presidential immunity can be

waived, the District Court mistakenly denied Defendant-Appellant's motion to

amend and include it as a defense, given the liberal amendment standard, the

compelling nature of the Defendant-Appellant's argument for presidential immunity,

and the significant constitutional factors involved. Finally, even if all else fails,

Defendant-Appellant properly raised his presidential immunity argument in

response to Plaintiff-Appellee’s Amended Complaint under the relevant Shields

standard. Shields, 25 F.3d at 1128.

      Therefore, for the reasons set forth below, Defendant-Appellant is entitled to

claim presidential immunity in the underlying matter.




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      A. Presidential Immunity Is Non-Waivable Under the Separation-of-
         Powers Doctrine

      “In framing the Constitution, the Founding Fathers adopted a system of

checks and balances to ensure that no one component of government would exercise

too much power.” Samuels, Kramer & Co. v. CIR, 930 F.2d 975, 987 (2d Cir. 1991).

Indeed, the Framers “built into the tripartite Federal Government…a self-executing

safeguard against the encroachment or aggrandizement of one branch at the expense

of the other.” Buckley v. Valeo, 424 U.S. 1, 122 (1976). This “principle of separation

of powers was not simply an abstract generalization in the minds of the Framers: it

was woven into the [Constitution].” Id. at 124. As such, the separation-of-powers

between the three co-equal coordinate branches functions as a “a bulwark against

tyranny,” United States v. Brown, 381 U.S. 437, 442-43 (1965), and is “fundamental

in our system,” Nat'l Mut. v. Tidewater Transfer, 337 U.S. 582, 590 (1949).

      This foundational tenet—which prohibits one branch from “assum[ing] a

position of authority over the governmental acts of another and co-equal

department,” Massachusetts v. Mellon, 262 U.S. 447, 489 (1923)—served as the

basis for the Supreme Court’s proclamation that a President is entitled to a sweeping

immunity from civil suit for acts taken in his official capacity, see generally Nixon,

457 U.S. 731. Given this interplay between the separation-of-powers doctrine and

presidential immunity, an impermissible inter-branch conflict will always arise when




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a court seeks to impute civil liability on a President for the performance of his official

acts.

        Therefore, for the reasons outlined below, presidential immunity is a non-

waivable defense.

           i.    The Separation-of-Powers Doctrine Restrains The Judicial
                 Branch’s Ability to Exercise Jurisdiction Over A President’s
                 Official Conduct

        “Historically, separation-of-powers jurisprudence has focused on the extent

to which one branch aggrandizes its power at the expense of another branch or

encroaches on the authority specifically reserved for a co-equal branch.” Samuels,

930 F.2d at 988 (citing Mistretta v. United States, 488 U.S. 361, 412 (1989)). In

other words, each branch must operate within its own strict confines, and not usurp

the authority or independence of another branch. The role of each branch is clear:

        “The functions of government under our system are apportioned. To the
        legislative department has been committed the duty of making laws; to
        the executive the duty of executing them; and to the judiciary the duty
        of interpreting and applying them in cases properly brought before the
        courts....[N]either department may invade the province of the other.”

Mellon, 262 U.S. at 488.

        With respect to the Judicial Branch, the Supreme Court has cautioned that

courts should “carefully abstain from exercising any power that is not strictly judicial

in its character, and which is not clearly confided to [the courts] by the Constitution.”

Muskrat v. United States, 219 U.S. 346, 355 (1911). “[F]rom its earliest history [the



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judiciary] has consistently declined to exercise any powers other than those which

are strictly judicial in their nature.” Id. at 356.

       As for the Executive Branch, the separation-of-powers inquiry “focuses on

the extent to which [the act of another branch] prevents the Executive Branch from

accomplishing its constitutionally assigned functions.” Nixon v. Administrator of

General Services, 433 U.S. 425, 443 (1977). The President is the central—and, in

some respects the only—figure who is relevant to this analysis. Indeed, Article II, §

1 vests the entire “executive Power” in the “President,” which means that “[t]he

President is the only person who alone composes a branch of government,” Trump

v. Mazars USA, LLP, 140 S. Ct. 2019, 2034 (2020). Given his “unique position in

the constitutional scheme,” Nixon, 457 U.S. at 749, it is not surprising that courts

“traditionally have recognized the President’s constitutional responsibilities and

status as factors counseling judicial deference and restraint,” id. at 753 (citations

omitted); see also id. at 754, n. 34 (“The executive power is vested in a President;

and as far as his powers are derived from the constitution, he is beyond the reach of

any other department[.]”) (citing Kendall v. United States, 12 Pet. 524 (1838)).

       This underlying principle—that the judiciary must not impede upon the

independence and autonomy of the President—has been historically codified by the

courts. As demonstrated through a line of Supreme Court decisions, set forth infra,

when confronted with this type of inter-branch conflict, the judiciary has repeatedly



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refrained from exercising jurisdiction over the President’s official conduct, except

in the most extraordinary and imperative circumstances, and, even then, only to the

most limited extent possible. The common thread running through these cases is the

Supreme Court’s recognition that—by virtue of the President’s distinct position in

the constitutional hierarchy—the separation-of-powers doctrine functions as a

safeguard to insulate him from the influence and control of the other branches.

      As early as the 1800s, it was established that the judiciary is prohibited from

interfering with the President’s ability to carry out his official duties. In Mississippi

v. Johnson, the State of Mississippi sued to enjoin President Andrew Johnson “from

executing or in any manner carrying out…the Reconstruction Acts.” 71 U.S. 475

(1867). In evaluating whether the judiciary was vested with the authority to enjoin

the President in his official conduct, the Supreme Court considered whether the

exercise of such jurisdiction would run afoul of the separation-of-powers doctrine,

i.e, the “general principles which forbid judicial interference with the exercise of

Executive discretion.” Id. at 499. In determining that jurisdiction was not warranted

in such a scenario, the Court pointed to the “apparently unbroken historical

tradition…implicit in the separation-of-powers” that “the President[,] [a]s the

executive department[,]” cannot be “restrained in its action by the judicial

department.” Id. at 500. The Court opined that “[t]he impropriety of such

interference [is] clear” because it would inevitably lead to an irresolvable “collision”



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between coequal “departments of the government.” Id. at 500–01. Thus, the Court

concluded that the judiciary has “no jurisdiction of a bill to enjoin the President in

the performance of his official duties.” Id. By issuing its edict, the Supreme Court

recognized for the first time that the judiciary is prohibited from exercising

jurisdiction in cases that would unduly interfere with the President’s ability to

execute his official duties.

      More than 100 years later, in United States v. Nixon, the Supreme Court held

that a President does not enjoy absolute immunity from federal criminal trial

subpoenas for information covered by executive privilege. 418 U.S. 683. This

decision, however, was premised on the Court’s “historic commitment to the rule of

[criminal] law” and the notion that “the ends of criminal justice would be defeated”

absent complete disclosure of facts in criminal cases. Id. at 710. The Court

simultaneously held that presidential communications are “presumptively

privileged” because such privilege is “fundamental to the operation of Government

and inextricably rooted in the separation-of-powers under the Constitution,” id. at

708, and “relates to the effective discharge of a President’s powers,” id. at 711. The

Court also emphasized that the judiciary must always be cautious not to encroach

upon the independence of the Executive Branch, noting that “in determining whether

[an action] disrupts the proper balance between the coordinate branches, the proper

inquiry focuses on the extent to which it prevents the Executive Branch from



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accomplishing its constitutionally assigned functions.” Id. at 711-712. Ultimately,

the Court was satisfied that it was able to resolve the subject dispute “in a manner

that preserves the essential function of each branch,” thereby obviating any

separation-of-powers concern that would otherwise prevent the judiciary from

exercising jurisdiction over the case. Id. at 707 (1974).

       Next, in Nixon v. Fitzgerald, the Supreme Court issued a seminal holding

which applied the previously established separation-of-powers principles to hold, for

the first time, that the President’s official conduct is “beyond the reach” of the

judiciary when it comes to the imposition of civil liability. 457 U.S. at 754, n. 37

(1982).

       In Nixon, a government whistleblower attempted to sue former President

Nixon for wrongful termination, claiming that the then-President had unlawfully

fired him in retaliation for damaging testimony that he had given before an oversight

committee. The Supreme Court—recognizing the “special solicitude due to claims

alleging a threatened breach of essential Presidential prerogatives under the

separation-of-powers,” id. at 743—flatly rejected the contention that President

Nixon could be subject to civil liability for his decision to terminate the

whistleblower, and affirmed, in a sweeping decision, that “a former President of the

United States is entitled to absolute immunity from damages liability predicated on

his official acts,” id. at 749.



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      In recognizing this new form of immunity—which the Court termed

“presidential immunity”—the Court “dr[e]w its evidence primarily from our

constitutional   heritage       and   structure,”   and   performed    a    “[h]istorical

inquiry…involv[ing] policies and principles that may be considered implicit in the

nature of the President’s office in a system structured to achieve effective

government under a constitutionally mandated separation of powers.” Id. at 748.

This analysis led the Court to determine that the “most compelling arguments” in

favor of adopting a wide-spanning immunity for a President “arise from the

Constitution’s separation of powers and the Judiciary’s historic understanding of that

doctrine.” Id. at 750, n. 31.

      In this respect, the Court acknowledged that “the President occupies a unique

position in the constitutional scheme,” id. at 749, and emphasized that his “unique

status under the Constitution distinguishes him from other executive officials,” id.

at 750. Namely, the Court pointed to Article II of the Constitution, which provides

that “executive Power [is] vested in [the] President,” establishing him as “the chief

constitutional officer of the Executive Branch” and entrusting him with

“discretionary responsibilities in a broad variety of areas,” all of which arise “[u]nder

the Constitution and the laws of the United States.” Id. at 756. The Court took note

that these duties are “charged constitutionally” and involve “incidental powers,

belonging to the executive department, which are necessarily implied from the



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nature of the functions[] which are confided to it”; as such, the Constitution’s grant

of authority to the President “must necessarily [] include[] the power to perform

them.” Id. (citations omitted).

      Accordingly, the Court held that presidential immunity is a “functionally

mandated incident of the President’s unique office” which is “rooted in the

constitutional tradition of the separation of powers.” Id. at 749. The Court

recognized this holding to be an extension of prior precedent which mandates

“judicial deference and restraint” in exerting jurisdiction over the President, see id.

at 754, n. 34 (citing Mississippi, supra; Kendall, supra), and distinguished it from

other cases in which it found the exercise of such jurisdiction to be permissible:

      It is settled law that the separation-of-powers doctrine does not bar
      every exercise of jurisdiction over the President of the United
      States...But our cases also have established that a court, before
      exercising jurisdiction, must balance the constitutional weight of the
      interest to be served against the dangers of intrusion on the authority
      and functions of the Executive Branch…When judicial action is needed
      to serve broad public interests—as when the Court acts, not in
      derogation of the separation of powers, but to maintain their proper
      balance, cf. Youngstown Sheet & Tube Co. v. Sawyer, supra, or to
      vindicate the public interest in an ongoing criminal prosecution, see
      United States v. Nixon, supra —the exercise of jurisdiction has been
      held warranted. In the case of this merely private suit for damages
      based on a President's official acts, we hold it is not.

Id. at 754 (emphasis added). The Court acknowledged, in no uncertain terms, that

the judiciary’s exercise of jurisdiction is “bar[red]” when presidential immunity

applies.



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      Ultimately, in applying its “outer perimeter” test, the Court determined that

“[i]t clearly is within the President’s constitutional and statutory authority to

prescribe the manner in which the [Air Force] Secretary will conduct the business of

the Air Force,” and, therefore, President Nixon’s conduct “lay well within the outer

perimeter of his authority.” Id. His conduct was therefore unreviewable. Id.

      In his concurring opinion, Chief Justice Burger wrote separately to

“underscore that the Presidential immunity derives from and is mandated by the

constitutional doctrine of separation of powers.” Id. at 758 (Burger, J., concurring).

He reiterated the points made by the majority and emphasized that presidential

immunity is a constitutional necessity which is founded entirely upon separation-of-

powers principles, as a safeguard against the judiciary’s undue intrusion into the

Presidential decision-making process:

      “Absolute immunity for a President for acts within the official duties of
      the Chief Executive is either to be found in the constitutional separation
      of powers or it does not exist. The Court today holds that the
      Constitution mandates such immunity and I agree.

      The essential purpose of the separation of powers is to allow for
      independent functioning of each coequal branch of government within
      its assigned sphere of responsibility, free from risk of control,
      interference, or intimidation by other branches…[T]he Judiciary
      always must be hesitant to probe into the elements of Presidential
      decisionmaking...Such judicial intervention should not be tolerated
      absent imperative constitutional necessity. The Court’s opinion
      correctly observes that judicial intrusion through private damages
      actions improperly impinges on and hence interferes with the
      independence that is imperative to the functioning of the office of a
      President.”

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Id. at 761 (citations omitted).

      In a companion case, Harlow v. Fitzgerald, the Supreme Court addressed the

extent to which Nixon’s presidential aides were immunized from suit, finding that

they were only entitled to qualified immunity. 457 U.S. 800 (1982). The Court,

however, took occasion to clarify its decision in Nixon, noting that, unlike presential

aides, a President’s entitlement to presidential immunity is “derive[d] in principal

part from factors unique to [the President’s] constitutional responsibilities and

station,” and that “[s]uits against other officials…generally do not invoke

separation-of-powers considerations to the same extent as suits against the President

himself.” Id. at 811, n. 17. As such, the Supreme Court reiterated the unique

deference afforded to the President under the separation-of-powers doctrine, even

when compared to subordinate officials within his own office.

      Subsequently, in Clinton v. Jones, the Supreme Court heard its second (and,

to date, last) presidential immunity case. In Clinton, a plaintiff sued President

Clinton for alleged sexual misconduct prior to taking office. President Clinton

argued that, as a sitting President, he was immune from suit in federal court under

the Supremacy Clause.

      As with Nixon, the Clinton Court’s analysis was largely centered around the

separation-of-powers doctrine. Taking heed of the notion that “the separation of

powers doctrine requires that a branch not impair another in the performance of its



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constitutional duties,” the Court ultimately determined that no such risk existed due

to the temporal nature of the conduct at issue. Clinton, 520 U.S. at 701 (citation

omitted). Specifically, the Court found that the separation-of-powers doctrine was

not offended because Clinton was being sued for conduct that had taken place before

he was President. Thus, the Court reasoned, “[w]hatever the outcome of this case,

there is no possibility that the decision will curtail the scope of the official powers

of the Executive Branch” because “the litigation of questions that relate to the

unofficial conduct of the individual who happens to be the President poses no

perceptible risk of misallocation of either judicial or executive power.” Id. at 701

(emphasis added). For this reason, the Court found that, as a general proposition, the

“federal courts have power to determine the legality of [the President’s] unofficial

conduct,” id. at 705 (emphasis added), and held that, in this particular instance—

since the separation-of-powers doctrine was not contravened—the judiciary “ha[d]

jurisdiction to decide th[e] case,” id. at 710.

      As established from the above-referenced line of cases, from Mississippi to

Clinton, it is clear that the separation-of-powers doctrine does not permit the

judiciary to encroach upon the President’s sphere of official conduct except in the

most narrowly-tailored circumstances. Per Nixon, a “merely private suit for damages

based on a President’s official acts” is plainly not one of those limited exceptions –




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the “danger[] of intrusion on the authority and function of the Executive Branch” is

inherently too high. Nixon, 457 U.S. at 754.

      It follows that whether a private suit against a President is “based on [his]

official acts” is a threshold issue that goes towards whether a court is authorized to

exercise jurisdiction over the subject matter of a case at all. See, e.g., Clapper v.

Amnesty Int’l USA, 568 U.S. 398, 408 (2013) (“The law of Article III standing,

which is built on separation-of-powers principles, serves to prevent the judicial

process from being used to usurp the powers of the political branches.”); Lujan v.

Defenders of Wildlife, 504 U.S. 566, 577 (1992) (finding that the separation-of-

powers doctrine is violated, and Article III standing is lacking, when the judiciary

“‘assume[s] a position of authority over the governmental acts of another and co-

equal department’ and [] become[]s ‘virtually continuing monitors of the wisdom

and soundness of Executive action.’”) (citation omitted).

      This proposition is bolstered by Supreme Court precedent which instructs that

the separation-of-powers doctrine is a constitutional prerequisite that cannot be

waived by an individual party. Particularly, in Commodity Futures Trading Comm’n

v. Schor, the Supreme Court was tasked with determining whether Congress could

assign traditional judicial functions to a non-Article III entity, the Commodities

Futures Trading Commission, to adjudicate customer disputes against commodities

brokers. 478 U.S. 833 (1986). The Court reasoned that, although a litigant may



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possess a “personal right” to waive Article III entitlement, this personal waiver

“cannot be dispositive,” id. at 851, when there are broader “structural principles”

involved since this creates an inherent “constitutional difficulty.” Id. In doing so, the

Court identified the separation-of-powers doctrine as one of these “structural

principles” and emphasized its absolute, non-waivable nature:

      “[O]ur precedents establish that Article III…serves as ‘an inseparable
      element of the constitutional system of checks and balances’…thereby
      preventing ‘the encroachment or aggrandizement of one branch at the
      expense of the other.’ To the extent that this structural principle
      is implicated in a given case, the parties cannot by consent cure the
      constitutional difficulty for the same reason that the parties by consent
      cannot confer on federal courts subject-matter jurisdiction beyond the
      limitations imposed by Article III, § 2. When these Article III
      limitations are at issue, notions of consent and waiver cannot be
      dispositive because the limitations serve institutional interests that the
      parties cannot be expected to protect.”

Id. at 850-51 (emphasis added). The key question, the Court noted, is whether a

party’s waiver of an individual right “impermissibly threatens the institutional

integrity” of a particular branch. Id. at 851. If it does, the separation-of-powers

doctrine is “contravened” and the waiver cannot be effective. Id. Ultimately, the

Schor Court determined that the facts in that case “raise[d] no question of the

aggrandizement of congressional power at the expense of another branch” and

therefore presented “no genuine threat” under a separation-of-powers analysis. Id. at

856-57. As such, the parties’ individual waiver of their constitutional rights was

deemed to be effective. Id.



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      Critically, in the aftermath of Schor, courts have consistently reaffirmed that

the separation-of-powers doctrine is a “structural principle” which cannot be waived

on an individual basis. See, e.g., Lo Duca v. United States, 93 F. 3d 1100, 1104 (2d

Cir. 1996) (“Since the argument proffered by Lo Duca involves constitutional

notions of separation-of-powers, the Government's response that Lo Duca has

waived his claims ‘cannot be dispositive.’”) (citing Schor, supra); see also Austin v.

Healey, 5 F.3d 598 (2d Cir. 1993) (“[B]ecause Austin's second claim, the

constitutional argument, implicates the balance struck by our Constitution among

the three branches of government, notions of forfeiture or waiver ‘cannot be

dispositive.’”) (citing Schor, supra); Samuels, 930 F.2d at 984 (“[S]tructural

protections…stand on a different footing from personal constitutional rights.”);

Wellness Inter. Network v. Sharif, 575 U.S. 665, 675-676 (2015) (reiterating the

holding in Schor that “to the extent this structural principle [i.e., the separation-of-

powers doctrine] is implicated in a given case…the parties cannot by consent cure

the constitutional difficulty.”); Kuretski v. CIR, 755 F.3d 929, 937 (D.C. Cir. 2014)

(relying on Schor to hold that “[b]ecause the [defendants] raise a structural claim in

addition to any ‘personal’ claim’…they did not waive their structural challenge” and

“have standing to bring their separation-of-powers claim.”). This construction of the

separation-of-powers doctrine is necessary to maintain the structural and

institutional integrity of the tripartite federal government. Indeed, “[w]ere such



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institutional interests—as distinguished from personal constitutional rights—so

easily waived,” the separation-of-powers doctrine would “effectively be rendered

null and void.” Samuels, 930 F.2d at 984.

      To that end, given its unique rooting in the separation-of-powers doctrine,

presidential immunity implicates a structural safeguard which operates to bar any

court from exercising jurisdiction over a claim within its ambit. Schor, 478 U.S. at

851. At its core, presidential immunity is a “functionally mandated incident of the

President’s unique office” which serves to insulate the President’s autonomy and

prevent the judicial branch from interfering with the discharge of his official

functions. Nixon, 457 U.S. at 749. The indispensable nature of this protection is

“implicit in the nature of the President’s office in a system structured to achieve

effective government under a constitutionally mandated separation-of-powers,” id.

at 748, because “judicial intrusion through private damages actions improperly

impinges on and hence interferes with the independence that is imperative to the

functioning of the office of a President,” id. at 761 (Burger, J., concurring). In this

respect, the presidential immunity doctrine is part of the “unbroken historical

tradition…implicit in the separation-of-powers” that “the President[,] [a]s the

executive department[,]” cannot be “restrained in its action by the judicial

department.” Mississippi, 71 U.S. at 500. A court is simply not constitutionally




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authorized to exercise dominion and control over the President’s official conduct, or

to impute liability for the performance of his official acts.

      At bottom, when the President is a defendant in a civil suit, the question of

whether the allegations relate to conduct taken within the ‘outer perimeter’ of his

official duties is a threshold issue which dictates whether the judiciary is authorized

to exercise dominion over the case. If the suit seeks to impose liability for the

President’s official conduct, then the separation-of-powers doctrine serves as an

absolute bar to the court’s jurisdiction. Therefore, contrary to the District Court’s

finding, the defense of presidential immunity can never be waived.

          ii.    The District Court’s Decision Overlooked Supreme Court
                 Precedent And Was Based On Flawed Reasoning

      In the July Order, the District Court demonstrated a failure to appreciate the

intricacies of presidential immunity and its nuanced interplay with the separation-

of-powers doctrine. For instance, it overlooked the distinct nature of presidential

immunity as compared to lesser form of absolute immunity afforded to judges and

prosecutors; it misapprehended unequivocal language in the seminal case of Nixon

v. Fitzgerald, which outlined the contours of a court’s jurisdiction when dealing with

presidential immunity; and it deviated from Supreme Court precedent concerning

the wide-spanning scope of presidential immunity. Consequently, the District

Court's decision must be overturned.




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                a. Presidential Immunity Is Distinguishable From Absolute
                   Immunity For Judges and Prosecutors

      In the July Order, the District Court correctly acknowledged that Defendant-

Appellant’s argument is founded upon the proposition that “presidential immunity

is non-waivable because it is different from absolute immunity available to judges

and prosecutors.” SPA73. The District Court, however, erred when it rejected this

premise and determined that “[t]here is nothing so exceptional about absolute

immunity available to a president that makes it non-waivable unlike other types of

immunities.” SPA74. This conclusion is at odds with the Supreme Court’s historical

framing of presidential immunity, which has consistently treated it as distinct from

other, lesser forms of absolute immunity.

      For judges and prosecutors, absolute immunity is “seen to derive from the

common law and public policy,” Nixon, 457 U.S. at 759, n. 2 (Burger, J., concurring)

(emphasis added). Indeed, “[t]he point of immunity for [judges and prosecutors] is

to forestall an atmosphere of intimidation that would conflict with their resolve to

perform their designated functions[.]” Ferri v. Ackerman, 444 U.S. 193, 204 (1979).

The idea is that judges and prosecutors “should be at liberty to exercise their

functions with independence and without fear of consequences,” Pierson v. Ray, 386

U.S. 547, 555 (1967) (citations omitted), and to operate “without favor and without

fear,” Bradley v. Fisher, 80 U.S. 335, 349 (1872).




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      It is true, as the District Court noted, that the Nixon Court relied on some of

these same considerations to justify the existence of presidential immunity. See

Nixon, 457 U.S. at 751-52 (“As is the case with prosecutors and judges—for whom

absolute immunity is now established—a President must concern himself with

matters likely to ‘arouse the most intense feelings.”). However, the District Court

failed to recognize that the Nixon Court’s primary justification for imbuing the

President with absolute immunity was an entirely different basis – the separation-of-

powers doctrine. See id; see also Dole Food Co. v. Patrickson, 548 U.S. 468, 479-

80 (2003) (“The immunity recognized in Nixon was also based on a further rationale,

one not applicable here: the constitutional separation-of-powers.”); Harlow, 457

U.S. at 800, n. 17 (noting that presidential immunity is “derive[d] in principal part

from factors unique to [the President’s] constitutional responsibilities and station.”).

In fact, in Nixon, the Court expressly acknowledged that “the most compelling

arguments [for presidential immunity] arise from the Constitution’s separation of

powers and the Judiciary’s historic understanding of that doctrine.” Id. at 750, n. 31

(emphasis added).

      Indeed, as outlined in Section I(A) above, it is beyond dispute that presidential

immunity is “rooted in the constitutional tradition of the separation of powers,” id.,

because it serves the historical function of safeguarding “against the encroachment

or aggrandizement of one branch at the expense of the other.” Buckley, 424 U.S. at



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122. Thus, since “[c]ourts traditionally have recognized the President’s

constitutional responsibilities and status as factors counseling judicial deference and

restraint,” Nixon, 457 U.S. at 753, there is a “special solicitude” afforded to “claims

alleging a threatened breach of essential Presidential prerogatives under the

separation of powers.” Id. at 743; see also Administrator of General Services, 433

U.S. at 443 (the separation of powers “focuses on the extent to which [the act of

another branch] prevents the Executive Branch from accomplishing its

constitutionally assigned functions.”).

      These fundamental constitutional concerns are simply not present for other,

lesser forms of immunity. See Nixon, 457 U.S. at 759, n. 2 (Burger, J., concurring)

(“[T]he Constitution provides no hint that either judges, prosecutors, or

congressional aides should be so protected.”); see also Harlow, 457 U.S. at 800, n.

17 (“Suits against other officials...generally do not invoke separation-of-powers

considerations to the same extent as suits against the President himself.”).

      Therefore, the District Court failed to recognize that presidential immunity

stands apart from other forms of immunity and presents a unique obstacle to a court’s

ability to exercise jurisdiction due to its rooting in the separation-of-powers doctrine.

                 b. The Nixon Court Expressly Defined Presidential Immunity
                    As A Jurisdictional Matter

      The District Court erred by failing to adhere to the Supreme Court’s holding

in Nixon v. Fitzgerald, which unequivocally stated that the judiciary’s “exercise of

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jurisdiction” is “bar[red]” when presidential immunity applies. Nixon, 457 U.S. at

754. In rejecting this proposition, the District Court attempted to distinguish the

Nixon Court’s use of the word “jurisdiction” as not “refer[ring] to a federal court’s

fundamental ability to adjudicate a case on its merits.” SPA79. However, a closer

inspection of Nixon demonstrates that this is simply not accurate.

      In Nixon, the Court’s discussion of jurisdiction was inextricably intertwined

with its separation-of-powers analysis. Specifically, the Court pointed to prior

precedent which counsels “judicial deference and restraint” in exerting dominion

over the President, see Nixon, 457 U.S. at 754, n. 34 (citing Mississippi, 4 Wall. at

501; Kendall, 12 Pet. at 610), and took notice of its obligation to “balance the

constitutional weight of the intertest to be served against the dangers of intrusion on

the authority and functions of the Executive Branch,” id. at 755. In performing this

balancing test, the Court distinguished the facts of Nixon from prior decisions in

which the judiciary’s “exercise of jurisdiction” had been deemed “warranted”—

including Youngstown Sheet & Tube Co., 343 U.S. 579 (1952), and United States v.

Nixon, supra—noting that, in those cases, the judiciary acted “not in derogation of

the separation of powers, but to maintain their proper balance.” Id. “In the case of

[a] merely private suit[s] for damages based on a President’s official acts,” on the

other hand, the Court categorically decided that the exercise of such jurisdiction is

not “warranted.” Id. The Court further emphasized this point by including a footnote



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which refers to the President’s official conduct as being “beyond the reach” of the

judiciary since his “powers are derived from the constitution.” See Nixon, 467 U.S.

at 753, n. 34.

      Simply put, there is only one logical takeaway from the Court’s separation-

of-powers evaluation: a court intrudes upon the authority and function of the

Executive Branch when it seeks it to impose civil liability upon the President for his

official acts; in such a scenario, the exercise of jurisdiction is strictly prohibited. The

District Court’s denial of this proposition constitutes reversible error.

                 c. The District Court’s Construction of Presidential Immunity
                    Undermines Presidential Autonomy And Contravenes The
                    Separation-Of-Powers Doctrine

       The District Court not only rejected Defendant-Appellant’s argument that

presidential immunity, when viable, contravenes the separation-of-powers doctrine

and precludes a court from exercising jurisdiction over a case; it took it a step further

and reasoned that treating said immunity as a jurisdictional bar would offend

separation-of-powers principles by “risk[ing] encroachment by the judiciary into the

president’s ability to choose” whether to assert it. SPA80. Respectfully, the District

Court’s position is at odds with the underlying purpose of the separation-of-powers

doctrine and the manner in which it has been historically applied.

      It is the “concern of encroachment and aggrandizement” that has “animated

[the Supreme Court’s] separation-of-powers jurisprudence and aroused [its]



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vigilance against the ‘hydraulic pressure inherent within each of the separate

Branches to exceed the outer limits of its power.’” Mistretta, 488 U.S. at 380. The

Court’s concern has always been focused on preventing one branch from usurping

the authority of another or otherwise interfering with its ability to carry out its

official functions. See, e.g., Mellon, 262 U.S. at 487 (“The general rule is that neither

department may invade the province of the other and neither may control, direct, or

restrain the action of the other.”); see also Administrator of General Services, 433

U.S. at 443 (the separation of powers “focuses on the extent to which [the act of

another branch] prevents the Executive Branch from accomplishing its

constitutionally assigned functions.”).

      Contrary to the District Court’s contention, affirming that presidential

immunity is a defense based in the separation-of-powers doctrine does not, in and of

itself, create a separation-of-powers dilemma. Though such a holding implies that a

President cannot individually choose to waive the defense, this fact, on its own, does

not “curtail the scope of the official powers of the Executive Branch,” since

defending civil lawsuits is not part of a President’s official duties. Clinton v. Jones,

520 U.S. 681, 682 (1997).

      The District Court’s construction of presidential immunity, meanwhile,

presents significant “dangers of intrusion on the authority and function of the

Executive Branch,” Nixon, 457 U.S. at 754, by permitting an individual waiver—



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intentional or unintentional—to pierce the separation-of-powers doctrine and allow

the judiciary to “assume[s] a position of authority over the governmental acts of

another and co-equal department,’ Lujan, 504 U.S. at 575 (citations omitted). This

is not only inconsistent with the historical purpose of the separation-of-powers

doctrine, it also offends “institutional interests that [individual] parties cannot be

expected to protect,” Schor, 478 U.S. at 850, and threatens to upend the balance

between the three independent and co-equal branches.

      Therefore, the District Court’s reasoning was flawed and inconsistent with the

traditional understanding of the separation-of-powers doctrine.

      B. Even If Presidential Immunity Is Waivable, Defendant-Appellee
         Should Have Been Permitted Leave To Amend To Assert His
         Presidential Immunity Defense

      Under Rule 15(a) of the Federal Rules of Civil Procedure, a court shall grant

leave to amend “freely…when justice so requires.” Leave to amend will be granted

absent a showing of undue delay, bad faith, futility, or prejudice to the defendant.

Foman v. Davis, 371 U.S. 178, 182 (1962). A “district court may, in its discretion,

construe a motion for summary judgment as a motion pursuant to Fed. R. Civ. P.

15(a) for leave to amend the defendant’s answer.” Anthony v. City of N.Y., 339 F.3d

129, 138, n. 5 (2d Cir. 2003). Typically, “courts have been more lenient in the

context of motions for summary judgment” in allowing answer amendments to raise




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affirmative defenses. Steinberg v. Colum. Pictures Indus., 663 F. Supp. 706, 715

(S.D.N.Y. 1987).

      Even assuming arguendo that presidential immunity is waivable (it is not),

the District Court abused its discretion by denying Defendant-Appellant’s request

for leave to amend to assert his presidential immunity defense, which he made in

connection with his motion for summary judgment. A880-894. Both of the District

Court’s justifications for denying Defendant-Appellant’s request—futility and

undue delay—fail as a matter of law.

             i.     Presidential Immunity Is Not A Futile Defense

      “When the denial of leave to amend is based on a determination that

amendment would be futile, a reviewing court conducts a de novo review.” Eastman

Kodak Co. v. Henry Bath, LLC, 936 F.3d 86, 98 (2d Cir. 2019).

      Courts assess futility by determining whether the proposed claim could

survive a motion to dismiss under Fed. R. Civ. P. 12(b)(6). See, e.g., Lucente v. Int'l

Bus. Machs. Corp., 310 F.3d 243, 258 (2d Cir. 2002) (“An amendment to a pleading

is futile if the proposed claim could not withstand a motion to dismiss pursuant to

Fed. R. Civ. P. 12(b)(6).”). Further, “futility is a determination, as a matter of law,

that proposed amendments would fail to cure prior deficiencies[.]” Panther Partners

Inc. v. Ikanos Commc'ns, Inc., 681 F.3d 114, 119 (2d Cir. 2012).




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      As outlined in greater detail in Section II below, Defendant-Appellant’s

presidential immunity defense easily surpasses the futility standard because he has

advanced a meritorious argument that the subject statements were made within the

‘outer perimeter’ of his presidential duties. Since this defense is valid, the District

Court clearly erred in finding it to be futile.

             ii.    There Was No Bad Faith Or Undue Delay In Seeking Leave
                    To Amend

      The District Court similarly erred when it denied Defendant-Appellant’s

request for leave to amend on the basis of “undue delay, dilatory motive, bad faith

and/or prejudice” to Plaintiff-Appellee. SPA88.

      “As long as amendment of pleadings does not prejudice plaintiffs, defendants

will not be precluded from adding additional defenses about which they had

knowledge.” Luther M. Ragin. v. Harry Macklowe, 126 F.R.D. 475, 478 (S.D.N.Y.

1989). In determining whether an amendment would cause undue prejudice, courts

will consider whether “the assertion of the new defense would (i) require the

opponent to expend significant additional resources to conduct discovery and

prepare for trial; [or] (ii) significantly delay the resolution of the dispute.” Marsh v.

Sheriff of Cayuga County, 36 Fed App’x 10, 11 (2d Cir. 2002); see also Ruotolo v.

City of New York, 514 F.3d 184, 192 (2d Cir. 2008).

      Here, the District Court primarily cited Defendant-Appellant’s purported

“three-year delay” in raising his defense in support of its opinion. SPA89. However,

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it is well-established that “[m]ere delay…absent a showing of bad faith or undue

prejudice, does not provide a basis for a district court to deny the right to amend.”

State Teachers Ret. Bd. v. Fluor Corp., 654 F.2d 843, 856 (2d Cir. 1981); Richardson

Greenshields Sec. v. Lau, 825 F.2d 647, 653 n. 6 (2d Cir.1987) (surveying cases

holding that a year-and-a-half delay between the defendant’s answer and motion for

leave to file an amended answer did not constitute undue delay absent a finding of

undue prejudice to plaintiffs).

      Thus, the passage of time alone is insufficient to support a finding of undue

delay. This is particularly relevant here, where any purported ‘delay’ was not one of

Defendant-Appellant’s making. This Court is well apprised of the extensive, years-

long appeals process which surrounded the issue of whether Defendant-Appellant is

entitled to immunity under the Westfall Act. While the Westfall Act issue loomed

over this case—from the date of the Attorney General’s certification on September

8, 2020 until the Department of Justice withdrew its certification on June 9. 2023

(A1044-1045)—the entire case hung in the balance as this dispositive issue awaited

determination on appeal. The convoluted procedural posture of this case, at a

minimum, disproves any notion that Defendant-Appellant intentionally acted in bad

faith by failing to raise his presidential immunity defense during this intervening

period. Thus, in the absence of bad faith, the timing of Defendant-Appellant’s

presidential immunity defense cannot be construed as unduly prejudicial.



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      Nor is it tenable to find that Defendant-Appellant acted in bad faith by raising

his immunity defense at the summary judgment stage. Indeed, New York courts

routinely permit immunity defenses to be raised at this stage in litigation, even when

not previously pleaded. See, e.g., Stephenson v. Doe, 332 F.3d 68, 76 (2d Cir. 2003)

(Finding that qualified immunity defense was not waived when it was not plead in

answer but was “asserted…in other pretrial submissions.”); Rinaldi v. City of New

York, 756 F.Supp. 111, 115 n. 3 (S.D.N.Y. 1990) (“Defendants who do not assert

qualified immunity in their answer can still raise qualified immunity…at summary

judgment.”); Sorano v. Taggart, 642 F. Supp.2d 45, 55-56 (S.D.N.Y. 2009)

(permitting defendant to raise qualified immunity defense for the first time in motion

for summary judgment).

      Another significant and fatal flaw in the District Court’s decision is that it

failed to plausibly identify the undue prejudice that Plaintiff-Appellee would have

suffered if Defendant-Appellant’s request for leave to amend would have been

granted. Indeed, the District Court should have assessed whether the sought-after

amendment would have resulted in Plaintiff-Appellee being required to “expend

significant additional resources to conduct discovery and prepare for trial or

significantly delay the resolution of the dispute.” Ruotolo, 514 F.3d at 192. But the

District Court failed to undertake this analysis at all; it did not find that Plaintiff-

Appellee would need to conduct any additional discovery if leave were granted, let



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alone “expend significant additional resources to conduct discovery[.]” See

Monahan v. N.Y.C. Dep't of Corr., 214 F.3d 275, 284 (2d Cir. 2000) (emphasis

added); see also Fluor Corp., 654 F.2d at 856 (holding that district court abused its

discretion in denying motion to amend where “amendment w[ould] not involve a

great deal of additional discovery” or “result in serious difficulty”).

      In fact, no additional discovery would have been required by virtue of

Defendant-Appellant raising his presidential immunity defense. The presidential

immunity argument was already briefed and submitted, in full, in his motion for

summary judgment. All the District Court needed to do was rule on it. If the defense

were found to be valid, the suit would be dismissed in its entirety; if it were found

to be insufficient, the case would proceed to trial.

      The District Court, however, acknowledged that “dismissal, in and of itself,

would not be unfair prejudice to Ms. Carroll because it would reflect the fact that

there was an insurmountable obstacle to her claim in the first place” but then

improperly found that the time and expense that Plaintiff-Appellee had previously

incurred in prosecuting her claim constituted undue prejudice. SPA91. This is simply

not a permissible basis to support a finding of undue prejudice under the law. It is

well established that complaints of “the time, effort and money…expended in

litigating [the] matter,” without more, do not constitute prejudice sufficient to

warrant denial of leave to amend. Block v. First Blood Associates, 988 F.2d 344, 351



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(2d Cir. 1993); see also Monahan, 214 F.3d at 284 (“the fact that one party has spent

time and money preparing for trial will usually not be deemed prejudice sufficient

to warrant a deviation from the rule broadly allowing amendment to pleadings”);

Ramirez v. Bernstein, No. 17 CV 3825 (VB), 2020 WL 7230729, at *3 (S.D.N.Y.

Dec. 7, 2020) (finding no undue prejudice even where discovery reached an

advanced stage and was nearly completed with respect to Plaintiff’s claims); U.S.

Fid. v. Jim's Elec., No. 05-CV-0440A (SR), 2010 WL 1408968, at *4 (W.D.N.Y.

Feb. 3, 2010) (same). The District Court’s admission that this consideration

“weigh[ed] very heavily” in its analysis is therefore wholly improper. SPA91. The

District Court should have focused its analysis on the relevant factor of what

additional resources Plaintiff-Appellee would have been required to expend to

counter Defendant-Appellant’s presidential immunity defense, which, of course, is

none.

        Therefore, the District Court erred when it declined to grant Defendant-

Appellant’s request for leave to amend to assert his presidential immunity defense.

        C. In The Alternative, Defendant-Appellee Properly Raised His
           Presidential Immunity Defense In Response To Plaintiff-Appellee’s
           Amended Complaint

        Alternatively, even assuming arguendo presidential immunity was waived

and the District Court properly denied his request for leave to amend, Defendant-




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Appellant still properly asserted the defense by subsequently raising it in his Answer

to Plaintiff-Appellee’s Amended Complaint.

      Recently, on May 22, 2023, Plaintiff-Appellee filed a motion to amend her

complaint, which was granted by the District Court on June 13, 2023. A1046-1047.

In response to the newly-filed Amended Complaint, Defendant-Appellant filed an

Answer which asserted presidential immunity as a defense. A1067-1068. The

District Court, however, struck the presidential immunity defense on the basis that

it had “previously determined that [Defendant-Appellant] waived that defense[.]”

SPA131. In doing so, the District Court applied an incorrect standard and overlooked

binding precedent which establishes that Defendant-Appellant properly raised his

presidential immunity defense in response to Plaintiff-Appellant’s Amended

Complaint.

      It is well settled that an amended complaint “supersedes the original, and

renders it of no legal effect.” Shields, 25 F.3d at 1128 (citations omitted).

Importantly, this means that affirmative defenses that could have been—but were

not—raised in an original answer may be raised in an answer to an amended

complaint. See Gilmore v. Shearson/American Exp., 811 F.2d 108, 112 (2d Cir.

1987) (“Rule 15 of the Federal Rules of Civil Procedure does not expressly limit the

defenses that can be alleged in response to an amended pleading[.]”); McFadden v.

Monroe Cty. Sheriff, No. 00-cv-6034, 2002 WL 1348508, at *3 (W.D.N.Y. Apr. 16,



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2002) (explaining that defendants’ response to the amended complaint “was not an

amended answer, but merely an answer and so defendants were permitted to raise

previously unpled affirmative defenses.”); Bao Guo Zhang v. Shun Lee Palace, , No.

17-CV-00840 (VSB), 2021 WL 634717, at *5 (S.D.N.Y. Feb. 16, 2021) (finding

that previously-waived Fed. R. Civ. P. 12(b)(6) defenses were properly asserted in

answer to amended complaint); Rodriguez v. City of New York, 18 CIV. 4805 (NRB),

2021 WL 5360120, at *4 (S.D.N.Y. Nov. 16, 2021) (“Just as plaintiff asserted new

allegations in his [amended complaint], defendants are also permitted to assert new

defenses in response.”).

      In this context, the only defenses that are “irrevocably waived” by failing to

assert them in an initial answer are “those that ‘involve the core issue of a party's

willingness to submit a dispute to judicial resolution,’ such as objections to ‘lack of

personal jurisdiction, improper venue, insufficiency of process and insufficiency of

service.’” Shields, 25 F.3d at 1128 (citing Gilmore, 811 F.2d at 112); see also 5C

Wright & Miller, Federal Practice & Procedure § 1392 (3d ed. 2020) (explaining

that defenses set out in Rule 12(h)(2) are not waived merely because they were not

raised in the first responsive pleading). All other defenses can be properly asserted

in response to an amended complaint, even if they were not previously raised.

Shields, 25 F.3d at 1128.




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      In accordance with the pleading standard set forth in Gilmore, Shields and

their progeny, it is readily apparent that Defendant-Appellant timely raised his

presidential immunity defense in his Answer to Plaintiff-Appellee’s Amended

Complaint. As for whether presidential immunity involves a “core issue of a party’s

willingness to submit a dispute to judicial resolution,” that answer hinges on whether

the defense is jurisdictional in nature, as Defendant-Appellant contends in Section

I(A) above. Id. If it is not—as the District Court held—then it follows that

presidential immunity does not involve a “core issue of a party's willingness to

submit a dispute to judicial resolution,” but, rather is an “effort to achieve judicial

resolution of the controversy.” Id. Thus, given the District Court’s prior finding, it

should have determined that Defendant-Appellant’s presidential immunity defense

was not “irrevocably waived,” id., by any failure to raise it in his initial Answer, and

that his subsequent assertion of the defense in his Answer to the Amended Complaint

effectively “revive[d]” it, Gilmore, 811 F.2d at 112. See also Lucente, 310 F.3d at

260 (“[A] court may not deprive an affected party of the right to file a response to

an amended pleading if the party so desires.”).

       The District Court, however, struck Defendant-Appellant’s presidential

immunity defense and merely stated, in conclusory fashion, that “[t]he opportunity

to answer an amended complaint is not a free pass to correct past wrongs without

justification or basis for doing so.” SPA131. To arrive at this conclusion, the District



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Court overlooked the applicable pleading rules established in binding Second Circuit

precedent, Gilmore and Shields, and instead relied on an unreported Southern

District case, Pereira v. Cogan, No. 00-cv-619 (RWS), 2002 WL 1822928, at *4

(S.D.N.Y. Aug. 7, 2002), which it mistakenly referred to as the “relevant standard.”

Id. Even if Pereira was binding precedent (it is not), the holding does not purport to

establish the sort of hardline rule that the District Court seemed to suggest; rather,

the Pereira court merely surveyed various authorities and concluded that “the case

law addressing this particular scenario…is all over the map.” Pereira, 2002 WL

1822928 at *2. Further, since the Pereira court, like the District Court, overlooked

the Second Circuit’s holdings in Gilmore and Shields, the Pereira decision is

irrelevant.

      Accordingly, should this Court reject Defendant-Appellant’s argument that

presidential immunity is a non-waivable, jurisdictional defense, it must also find that

it does not “involve a core issue of a party's willingness to submit a dispute to judicial

resolution.” Shields, 25 F.2d at 1128. In this scenario, it is incontrovertible that

Defendant-Appellant properly asserted presidential immunity in his Answer to

Plaintiff-Appellee’s Amended Complaint.

II.   The Subject Statements Are Protected By Presidential Immunity

      It cannot be reasonably disputed that Plaintiff-Appellee’s theory of liability is

premised upon “acts within the ‘outer perimeter’ of [Defendant-Appellant’s] official



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capacity” as President. Nixon, 457 U.S. at 755. In denying this proposition, the

District Court deviated from well-established Supreme Court precedent and failed

to adhere to the general principles guiding presidential immunity. When properly

assessed, however, there is no question that Defendant-Appellant’s conduct

comfortably lays within the ‘outer-perimeter’ of his official responsibilities.

      A. Defendant-Appellant’s Conduct Was Within The ‘Outer Perimeter’
         Of His Official Presidential Duties

      As established in the seminal case of Nixon v. Fitzgerald, in evaluating

whether a President should be afforded absolute immunity, the relevant inquiry is

whether the liability in a civil lawsuit is “predicated on his official acts.” Nixon, 457

U.S. at 749. This “sphere of protected action” is interpreted broadly and extends to

conduct within the “outer perimeter of his official responsibilities.” Id. at 756; see

also Clinton, 520 U.S. at 696 (“With respect to acts taken in his ‘public character’—

that is, official acts—the President may be disciplined principally by impeachment,

not by private lawsuits for damages.”).

      Importantly, the test is an objective one – it is focused on the nature of the act

in question, not the motive underlying it. See Nixon, 457 U.S. at 756 (rejecting a

subjective test because it would “subject the President to trial on virtually every

allegation than an action was unlawful, or was taken for a forbidden purpose,” which

would “deprive [presidential] immunity of its intended effect.”); Barr v. Matteo, 360

U.S. 564, 575 (1959) (“[T]he claim of an unworthy purpose does not defeat the

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privilege [of absolute immunity].”); Clinton, 520 U.S. at 693 (noting that

“immunities are grounded in ‘the nature of the function performed,’ rather than in

the lawful or unlawful motivations of the person performing them.”). In other words,

presidential immunity is “not overcome by ‘allegations of bad faith or malice,’”

Klayman v. Obama, 125 F.Supp.3d 67, 86 (D.D.C. 2015) (quoting Barret v.

Harrington, 130 F.3d 246, 254-55 (6th Cir. 1997)), and even “alleged wrongful

acts…lay well within the outer perimeter” of the President’s authority.” Nixon, 457

U.S. at 757.

      Further, the “outer perimeter” analysis must be viewed in the context of the

President’s wide-ranging duties. The Supreme Court has consistently acknowledged

that the President’s responsibilities are “of unrivaled gravity and breadth,” Trump v.

Vance, 140 S. Ct. 2412, 2425 (2020), and that “[i]n drama, magnitude, and finality

his decisions so far overshadow any others that almost alone he fills the public eye

and ear,” Clinton, 520 U.S. at 698. Given the President’s “innumerable functions”

and “discretionary responsibilities in a broad variety of areas,” Nixon, 457 U.S. at

756, it can be accurately stated that the President “never adjourns.” Clinton, 520 U.S.

at 713 (Breyer. J., concurring).

      Undoubtedly, one of the President’s most vital functions is his ability to

address the public on matters of national concern. See, e.g., Thompson v. Trump, 590

F.Supp.3d 46, 79 (D.D.C. 2022) (“[S]peech is unquestionably a critical function of



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the presidency.”); 1 Trump v. Hawaii, 138 S. Ct. 2392, 2417–18 (2018) (“The

President of the United States possesses an extraordinary power to speak to his

fellow citizens and on their behalf.”); Savage v. Trump, et al, Case No.: 211002495

at *13 (Pa. Sup. July 31, 2023) (“Speaking to the public on matters of public concern

is part of a President’s official duties.”); CBS v. FCC, 454 F.2d 1018, 1020 (D.C.

Cir. 1971) (“The President’s extensive use of the media cannot, of course, be faulted,

for there can be no doubt that in the distillation of an informed public opinion such

appearances play a very basic role.”). Accordingly, a President’s actions are highly

protected when he acts in this capacity.

       In Barr v. Matteo, the Supreme Court dealt with a similar factual scenario as

the one presented here. There, two employees of the Federal Office of Rent

Stabilization sued the agency’s Acting Director in relation to the publication of a

press release in which he promised to suspend the employees for promoting an

unpopular budget plan. See generally Barr, 360 U.S. 564 (1959). The former

employees contended that the director's press release contained defamatory



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  Notably, the District Court cited to the Thompson case at length in denying Defendant-
Appellant’s presidential immunity argument. However, the District Court failed to appreciate the
contextual underpinnings of that case, which differ vastly from the instant circumstance. In
Thompson, the court acknowledged that “[t]o deny a President immunity from civil damages is no
small step,” but nonetheless found that presidential immunity was inapplicable because Defendant-
Appellant had been acting in his capacity as a candidate, not a President, with respect to the
conduct at issue in that case. Id. at 83. That same justification cannot apply here, as it cannot be
conceivably argued that Defendant-Appellant was acting in any other official capacity when he
issued the subject statements.


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statements. Id. at 568. However, the Supreme Court ruled that the director was

shielded by absolute immunity because the issuance of the press release was “an

appropriate exercise of the discretion which an officer of that rank must possess if

the public service is to function effectively.” Id. at 575. In so finding, the Court

pointed to the fact that “[t]he issuance of press releases was standard agency practice,

as it has become with many governmental agencies in these times,” and that the

Agent Director’s “own integrity in his public capacity[] had been directly and

severely challenged” in charges that were “given wide publicity.” Id. at 574. The

Court went on to emphasize that “[i]t would be an unduly restrictive view of the

scope of the duties of a policy-making executive official to hold that a public

statement of agency policy in respect to matters of wide public interest and concern

is not action in the line of duty.” Id. (emphasis added). In coming to this holding, the

Barr Court also refused to consider the plaintiffs’ argument that the defendant had

acted with malice, noting that “[t]he fact that the action here was taken within the

outer perimeter of [his] line of duty is enough to render the [immunity] applicable,

despite the allegation of malice in the complaint[.]” Id. at 575.

      Here, similarly, it is beyond dispute that Defendant-Appellant was acting, at

a minimum, within the ‘outer perimeter’ of his official responsibilities when he

responded to Plaintiff-Appellee’s allegations. Like in Barr, one of the statements

was issued in an official White House press release, while the other two were given



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in direct response to reporters’ questions at the White House. In addition to denying

the substance of Plaintiff-Appellee’s allegations, the statements also addressed

numerous highly political issues, including Justice Kavanaugh’s confirmation

hearing, the role of media in politics, the state of the Federal Reserve, and current

foreign affairs, all in response to reporter inquiries. A575-587, A591. Thus, it cannot

be reasonably disputed that these statements addressed issues of public concern. See,

e.g., Snyder v. Phelps, 562 U.S. 443, 453 (2011) (“Speech deals with matters of

public concern when it can ‘be fairly considered as relating to any matter of political,

social, or other concern to the community,’…or when it ‘is a subject of legitimate

news interest; that is, a subject of general interest and of value and concern to the

public.”); Rankin v. McPherson, 483 U.S. 378, 387 (1987) (“The inappropriate or

controversial character of a statement is irrelevant to the question whether it deals

with a matter of public concern.”). On this basis alone, Defendant-Appellant’s

conduct in issuing the statements fell within the ‘outer perimeter’ of his official

duties since the statements have a clear “connection with the general matters

committed by law to the [President’s] control or supervision, and [is not] manifestly

or palpably beyond his [presidential] authority.” Pani v. Empire BCBS, 152 F.3d 67,

75 (2d Cir. 1998) (quotation omitted); see also Spalding v. Vilas, 161 U.S. 483, 498

(1896).




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      Further, when viewed in full context, there is simply no question that

Defendant-Appellant was acting in a presidential capacity when he made the subject

statements. By virtue of the grave accusations levied by Plaintiff-Appellee,

Defendant-Appellant, a sitting President, was faced with a media frenzy surrounding

a story that threatened to impugn his character and impede his ability to effectively

govern. In this type of scenario, whether applying the ‘outer perimeter’ test for

absolute immunity or the narrower respondeat superior test applied in Westfall Act

cases, courts have consistently found that statements issued to the press which are

aimed at defending against harmful allegations fall within the scope of an official’s

responsibilities. See, e.g., Council on American Islamic Relations v. Ballenger, 444

F.3d 659. 665 (D.C. Cir. 2006) (statement to reporter during interview about his

separation from his spouse was within scope of employment, noting that a

congressman has a duty to “maintain the continued trust and respect of [his]

constituents” and to “preserve his ability to carry out his [] responsibilities.”);

Lombardo v. Stoke, 18 N.Y.2d 394, 400 (1966) (state school official absolutely

immune for issuing public statement in response to allegations of bias, noting that

the allegations “directly and severely challenged” the official’s “integrity’ and had

been “given wide publicity.”); Williams v. United States, 71 F.3d 502, 507 (5th Cir.

1995) (“[A] primary obligation of a Member of Congress in a representative

democracy is to serve and respond to his or her constituents.”).



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      Here, similarly, the subject statements were made in direct response to

allegations which threatened to impugn Defendant-Appellant’s character and affect

his ability to effectively govern the nation. As both the leader of the nation and head

of the Executive Branch, Defendant-Appellant could not sit idly while a ‘media

storm’ erupted around sensationalized allegations that attempted to paint the sitting

President as a rapist. Indeed, faced with this widely-reported, unprovoked attack on

his character, Defendant-Appellant had a duty to respond; at a minimum, this action

was necessary to “maintain the continued trust and respect of [his] constituents” and

to “preserve his ability to carry out his [] responsibilities.” Ballenger, 444 F.3d at

320 (internal quotations omitted); see also Barr, 360 U.S. at 575.

      Thus, it cannot be reasonably disputed that Defendant-Appellant’s conduct

was ‘presidential’ in nature because he was addressing an issue of grave public

concern that weighed on the character and competency of the leader of the nation.

      B. The District Court Utilized An Improper Standard To Assess The
         Viability Of Defendant-Appellant’s Presidential Immunity Argument

      The District Court erred in finding that Defendant-Appellant is not entitled

to assert presidential immunity in the case sub judice.

      Notably, although the District Court rejected Defendant-Appellant’s claim

that presidential immunity applies, it accepted Defendant-Appellant’s two central

components of Defendant-Appellant’s argument. First, it accepted the contention

that Defendant-Appellant was “addressing a matter of public concern because the

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accusation [had] ‘impugned his character and, in turn, threatened his ability to

effectively govern the nation,’” SPA85. Second, it accepted the proposition that “the

president’s speech on a matter of public concern comes within the president’s

official responsibilities.” Id. This should have been the end of the District Court’s

inquiry. It is well settled that, in assessing whether presidential immunity applies, a

court’s review must be limited to assessing the objective nature of the act in question;

it is not permitted to perform a an “inquiry into the President’s motives,” because

this type of subjective analysis “deprive[s] absolute immunity of its intended effect.”

Nixon, 457 U.S. at 756.

      Nonetheless, the District Court proceeded to perform precisely the type of

“highly intrusive inquiry” that the Supreme Court has prohibited, finding: “[e]ven

assuming that [Defendant-Appellant’s] decision publicly to deny an accusation of

personal wrongdoing comes within the outer perimeter of his official duties, it does

not follow that [Defendant-Appellant’s] own personal attacks on his [] accuser

equally fall within that boundary.” SPA87 (emphasis added); see also SPA88

(characterizing the subject statements as a “personal attack” against Plaintiff-

Appellee). In construing Defendant-Appellant’s statements as a “personal attack”

against Plaintiff-Appellee, the District Court failed to utilize the objective approach

that is required for assessing a claim of presidential immunity. Indeed, there is

simply no meaningful distinction to be drawn between Fitzgerald’s allegation that



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President Nixon engaged in a “conspiracy…to besmirch [Fitzgerald’s] reputation”

for “reasons purely personal to [Nixon],” Nixon, 457 U.S. at 739, n. 18, and the

District Court’s finding that Defendant-Appellant “accus[ed] an individual who

charged [him] with personal wrongdoing of fabricating the charge for ulterior and

improper purposes,” SPA88. Both of these “alleged wrongful acts lay well within

the outer perimeter of [the President’s] authority.” Nixon, 457 U.S. at 757; see also

Shmueli v. City of New York, 424 F.2d 231, 238 (2d Cir. 2005) (“[T]he nature of

absolute immunity is such that it ‘accords protection from…any judicial scrutiny of

the motive for and reasonableness of an official action.”) (citations omitted); Pinaud

v. County of Suffolk, 52 F.3d 1139, 1149 (2d Cir.1995) (noting that “virtually all

acts, regardless of motivation, associated with [a prosecutor’s] function as an

advocate” are shielded by absolute immunity).

      More specifically, the District Court also found that presidential immunity

could not apply to Defendant-Appellant’s statement that Plaintiff-Appellee had

“fabricated” her claims and that she did so for financial and personal gain. SPA87.

Yet, in so finding, the District Court failed to recognize that this was only a minor

portion of Defendant’s statement, which largely focused on the larger denial of the

heinous allegations levied by Plaintiff-Appellee. Further, this arbitrary distinction

between what the District Court considered to be ‘official conduct’ and ‘unofficial

conduct’ of a President, is wholly unconvincing. Essentially, the District Court



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concluded that Defendant-Appellant was acting within the ‘outer perimeter’ of his

presidential duties when he denied that he committed a rape and never met the

alleged victim, but somehow crossed the threshold into unprotected behavior when

he vocalized the logical and reasonable inference that a false accusation—which, by

its very nature, is fabricated—was made for a self-serving purpose. Simply put, these

portions of Defendant-Appellant’s statements are inextricably intertwined, and

cannot be as neatly split as the District Court seemed to imply.

      Moreover, on a practical level, permitting courts to engage in this type of

hyper-sensitive and granular analysis of a President’s speech undermines the very

purpose of presidential immunity. The Supreme Court has acknowledged that the

President must have “the maximum ability to deal fearlessly and impartially with the

duties of his office” since he is obligated to “make the most sensitive and far-

reaching decisions entrusted to any official under our constitutional system.” Nixon,

457 U.S. at 752. As an “easily identifiable target for suits for civil damages,” the

President must be afforded a wide-ranging immunity so that “cognizance of this

personal vulnerability” will not “distract [him] from his public duties.” Id. at 752-

53.

      Yet, taken to its logical conclusion, the District Court’s holding will indelibly

destroy the protections afforded by presidential immunity. Under the District Court’s

proposed construction of presidential immunity, anytime a President speaks,



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litigants would have free reign to parse through the precise wording of his language

to identify specific portions—no matter how minor—that could be construed as

actionable. Liability would even attach when a President merely speculates as to a

person’s motive for undertaking a particular course of conduct, even when

discussing issues of paramount public interest. Such a rule would collapse the

protections afforded by presidential immunity and effectively require the President

to have a lawyer stand beside him at every press conference to confer with before

answering any question for fear of accidentally opening himself up to suit. This

concern with rendering a President “unduly cautious in the discharge of his official

duties” is precisely what the Nixon Court sought to avoid. Nixon, 457 U.S. at 752, n.

32.

       Based on the foregoing, the District Court clearly erred as a matter of law in

rejecting Defendant-Appellant’s presidential immunity claim.

III.   The District Court Has Been Divested Of Jurisdiction

       The District Court erred as a matter of law in finding that it retained

jurisdiction of the underlying matter.

       Interlocutory appeals divest trial courts of jurisdiction “over those aspects of

the case involved in the appeal.” See Griggs v. Provident Consumer Discount, 459

U.S. 56, 58 (1982). Since presidential immunity confers immunity from suit in its

entirety, the District Court is divested of jurisdiction from the entirety of the


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underlying litigation pending resolution of this issue on appeal. See, e.g., United

States v. Rodgers, 101 F.3d 247, 251 (2d Cir. 1996) (“A district court does not regain

jurisdiction until the issuance of the mandate by the clerk of the court of appeals.”);

Harlow, 457 U.S. at 818 (“Until this threshold immunity question is resolved,

discovery should not be allowed.”).

      As noted in its August 18, 2023 Order, the District Court would only retain

jurisdiction over the action if the instant appeal were frivolous. A1326. Yet, for all

the reasons outlined herein, this appeal is meritorious and, at a minimum, it is clearly

not frivolous. Thus, the District Court’s finding of frivolity was improper.

      Accordingly, this Court should affirm that the District Court has been divested

of jurisdiction until the appeals process has been exhausted and final adjudication

has been reached on all immunity-related issues involved in the instant appeal.

IV.   The Subject Statements Are Not Defamation Per Se

      In a defamation case, a plaintiff is required to prove that the defamation “either

cause[d] special harm or constitute[s] defamation per se.” Peters v. Baldwin Union,

320 F.3d 164, 169 (2d Cir. 2003) (citation omitted).

      As set forth in the July Order, the District Court did not find that Plaintiff-

Appellee established, or even alleged, special damages. Rather, the District Court

held that Plaintiff-Appellee adequately demonstrated that her claim constituted libel

per se. This finding was premised upon the theory that libel per se claims are held


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to a looser standard than those for defamation per se. Defendant-Appellant

respectfully submits that this decision was made in error.

      A claim for “defamation” is an umbrella term that incorporates the “twin torts

of libel and slander,” Albert v. Loksen, 239 F.3d 256, 265 (2d Cir. 2001) (citations

omitted). There are four narrowly defined categories of statements which are

considered to be defamatory per se: those “(i) charging plaintiff with a serious crime;

(ii) that tend to injure another in his or her trade, business or profession; (iii) that

plaintiff has a loathsome disease; or (iv) imputing unchastity to a woman.” Liberman

v. Gelstein, 80 N.Y.2d 429, 435 (1992).

      Indeed, multiple courts have held claims of libel per se to this precise

standard, without differentiating from defamation per se or slander per se. See, e.g.,

Celle v. Filipino Reporter Enterprises, 209 F.3d 163, 179-80 (2d Cir. 2000) (“New

York recognizes certain statements as defamatory per se…[t]he line between

statements that are defamatory per se and those that require proof of special damages

remains fuzzy.”) (emphasis added); Pure Power Boot Camp v. Warrior Fitness, 813

F.Supp.2d 489, 550 (S.D.N.Y. 2011) (relying on the standard four category test for

defamation per se in a case regarding claims that a written email was defamatory);

Premier Medical Systems v. NeuroLogica Corp., 2022 WL 603999, at *12-*13

(S.D.N.Y. Feb. 28, 2022) (same); Executive Trim Construction. v. Gross, 525

F.Supp.3d 357, 369-70 (N.D.N.Y. 2021) (same). Notably, all of these opinions



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referred to the claims as simply ‘defamation’ and discussed whether the subject

statements constituted ‘defamation per se’—despite concerning written statements

that would have clearly fallen under the category of ‘libel’ if the courts had found it

necessary to specify. See id.

      While some older cases have phrased the test for per se showings in more

general terms while discussing libel, that does not mean that libel per se is judged

under a different standard than defamation per se. Indeed, if a defendant’s behavior

cannot be found to have been defamatory per se, it is impossible for that behavior to

be libelous per se because libel is simply one form of defamation.

      Defendant-Appellant respectfully submits that the difference in language

between some decisions discussing libel is indicative more of the language used in

older cases, when it was perhaps more common to distinguish between slander or

libel, and that under the modern standard articulated in Celle, Premier Medical

Systems and Executive Trim Construction, where it has since been established that

all defamation has the same, more specific test for per se showings.

      Under the modern defamation per se standard, there is little doubt that the

alleged defamatory statements—which lack any correlation to Plaintiff-Appellant’s

professional capabilities—are not defamatory per se. The statements do not impugn,

or even relate to, any particular talent or ability needed to perform in Plaintiff’s

profession as a “writer and advice columnist.” A966. Thus, the statements “do[] not,



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on [their] face, defame [P]laintiff in her trade, business or profession.” Aronson v.

Wiersma, 65 N.Y.2d 592, 594 (1985).

      As the New York Court of Appeals explained, the “trade, business or

profession” category is “limited to defamation of a kind incompatible with the proper

conduct of the business, trade, profession or office itself…[t]he statement must be

made with reference to a matter of significance and importance for that purpose,

rather than a more general reflection upon the plaintiff's character or qualities.”

Liberman v Gelstein, 80 N.Y.2d 429, 436 (1992) (citations omitted); see also Kforce,

Inc. v. Alden Pers., 288 F.Supp.2d 513, 516 (S.D.N.Y. 2003) (“statements must

allege a link between a particular profession and a particular disreputable vice of that

profession” (citations omitted)).

      While multiple statements gave rise to this action, any argument that the

subject statements were defamatory ultimately boils down to the idea that, at most,

Defendant-Appellant accused Plaintiff-Appellee of making a false allegation against

him for the purpose of garnering publicity and to sell books. Such an inference would

be insufficient to constitute defamation per se as a matter of law, even if true.

Notably absent from the subject statements is any language aimed at a particular

skill or trait which reflects upon Plaintiff-Appellee’s competency as a “writer and

advice columnist,” (A966); thus, the statements amount to nothing more than a

general reflection of—or rhetorical hyperbole expressing an opinion of—the



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plaintiff’s character or qualities. Rufeh v. Schwartz, 50 A.D.3d 1002, 1005 (2d Dep’t

2008) (defamation per se not satisfied because the “alleged defamatory

statements…constituted nothing more than a general reflection upon the plaintiffs'

character or qualities.”); see also Zysk v. Fidelity Tit., 14 A.D.3d 609, 610 (2d Dep’t

2005) (“The average listener would certainly understand [defendant’s] statements to

be rhetorical hyperbole expressing her opinion of the plaintiff’s character. Such

statements are not actionable.”).

       Indeed, New York courts consistently find that these types of statements—

which broadly refer to a person’s dishonest nature—are insufficient to support a

claim of defamation per se. See, e.g., Davydov v. Youseffi, 205 A.D.3d 881, 882 (1st

Dep’t 2022) (“While the plaintiff asserted in his affidavit that the defendant had

called him a ‘fraud’ and that he ‘operate[d] as a fake,’ there are no allegations that

these statements were specifically directed at the plaintiff in his professional

capacity as a dentist.”); Pure Power Boot Camp, 813 F.Supp.2d at 551 (statements

characterizing plaintiff as a “loose cannon” and a “liar” were not defamatory per se

because the statements reflected personal characteristics rather than reflections of

professional competence); Ram v. Moritt, 205 A.D. 516 (2d Dep’t 1994) (finding

that statements referring to the plaintiff, a doctor, as a “‘liar,’ a ‘cheat,’ and a ‘debtor’

did not constitute defamation per se because they “did not address the plaintiff’s

professional status as a doctor”).



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      Applying these principles to the statements in question, it is clear that the

statements do not constitute defamation per se, thereby warranting reversal of the

District Court’s decision.

                                 CONCLUSION

      For the forgoing reasons, this Court should reverse the District Court’s Orders.


Dated: September 28, 2023              Respectfully submitted,
       New York, New York

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      FEDERAL RULES OF APPELLATE PROCEDURE FORM 6
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                                                   /s/ Alina Habba_______
                                                   ALINA HABBA, ESQ.




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          Addendum Annexed Hereto:
     Unreported Decision and Order
         “Savage v. Trump, et al.”
  Court of Common Pleas of Philadelphia
                No. 2495




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               SAVAGE,                                                           COURT OF COMMON PLEAS

                                      Plaintiff                                     PHILADELPHIA COUNTY

                                v.                                                    OCTOBER TERM, 2021

               TRUMP, et al.,                                                                       No. 2495

                                      Defendants

               SAVAGE,                                                           COURT OF COMMON PLEAS

                                       Plaintiff                                    PHILADELPHIA COUNTY

                                v.                                                         MAY TERM, 2023

               TRUMP,                                                                               No. 0012
                                       Defendant


                                                           ORDER


                     AND NOW, this 31 th day of July, 2023, it is hereby ORDERED that:
                       1. The Motion by Defendants Donald J. Trump and Donald J. Trump for President for
                             Judgment on the Pleadings is DENIED.
                         2. Defendant Donald J. Trump is GRANTED Presidential immunity and legislative
                            immunity with respect to the statement he gave at the Gettysburg Hearing on
                             November 25, 2020.
                         3. Defendant Donald J. Trump is GRANTED Presidential immunity with respect to
                             his tweet from November 27, 2020.
                         4. The stay of discovery with respect to Defendants Donald J. Trump and Donald J.
                            Trump for President is lifted and will proceed according to the revised Case
                             Management Order filed today.


                                                                    BY THE COURT:

                                                                             •
                                                                        ~tf•
                    211002495-Savage Vs Trump Etal



                                                                    MICHA ELE. ERDOS,      J.
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              IN THE COURT OF COMMON PLEAS OF PHILADELPHIA

                  FIRST JUDICIAL DISTRICT OF PENNSYLVANIA

                                 CIVIL TRIAL DIVISION




JAMES SAVAGE                                                     Case ID: 211002495


V.



DONALD J. TRUMP et al.
                                                                 Control: 23050512


JAMES SAVAGE                                                     Case ID: 230500012


v.

DONALD J. TRUMP




                                MEMORANDUM OF LAW

ERDOS ,J.                                                                       July 31, 2023

       The Court writes to explain its reasoning for granting Presidential immunity to Defendant

Donald Trump regarding certain statements he made in 2020. His 2022 letter to the House Select




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Committee to Investigate the January 6 Attack on the United States Capitol does not afford him
                                      th


                                                                                               1
Presidential immunity because he was not the President at the time that he sent it.

        Plaintiff James Savage, a voting machine supervisor in Delaware County, Pennsylvania,

filed lawsuits in 2021 and 2023, since consolidated, alleging that former President Donald

Trump, former Mayor Rudolph Giuliani, two Delaware County poll watchers and others

conspired to defame him and place him in a false light by publicly and falsely claiming that he

tampered with the 2020 Presidential election results. He alleges that as a consequence of

Defendants' unlawful conduct he received death threats and suffered two heart attacks. The

statements made by Trump were during a Pennsylvania State Senate Majority Policy Committee

hearing in Gettysburg, Pennsylvania on November 5, 2020, in a Twitter tweet on November 27,
                                                                                     th
2020, and in a letter sent to the House Select Committee to Investigate the January 6 Attack on

the United States Capitol 2 on October 13, 2022. They read as follows:
                                                        3




The Gettysburg Hearing:

        Thank you very much. I've been watching the hearing on OAN and saw it on a

couple of other great networks, but I really appreciate being asked to speak. I'm in the Oval

Office right now, and it's very interesting to see what's going on. This was an election that

we won easily. We won it by a lot.




1 The Court did not analyze whether such immunity would have applied had he sent such a letter during his Presi-

dency.
2 Plaintiff alleges that Trump also contemporaneously posted this letter on his Truth Social account.
3 Even if Presidential immunity did not apply to the Gettysburg Hearing statement, Trump would be shielded from

liability by legislative immunity, which will be addressed by the Court in the event that the issue is appealed.

                                                        2

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       A big energy official was on this morning on an important show and said, "There's

no way Trump didn't win Pennsylvania, because the energy industry was all for him. I saw

with my eyes what happened," and he told me horror stories, absolute horror stories. So this

was, very sad to say it, this election was rigged and we can't let that happen. We can't let it

happen for our country. And this election has to be turned around, because we won

Pennsylvania by a lot. And we won all of these swing States by a lot.

       Anybody watching television the night of the election was saying, "Wow." I was

called by the biggest political people. "Congratulations, sir, on a big win." And all of a sud-

den, ballots were dumped all over the place, and a lot of horrible things happened and eve-

rybody in that room, I want to thank all of the people that signed affidavits and all of the

speakers. You' re fantastic people. You' re great patriots.

       I want to thank the senators for being there. And it's so important, day before

Thanksgiving, it really represents somebody. Between the voter suppression and all of the

horrible things that happened to poll watchers. We have poll watcher affidavits piled up to

the ceiling. They're all over. They were treated horribly all over, all of these swing States, I

mean virtually all of the swing States, and many other things were happening that were hor-

rible, just horrible.

        But the poll watchers weren't allowed to watch. They were in many cases whisked

out of the room. Not only into pens that were 20, 30, 40, 60, 100 feet away where you

couldn't even see. They were using binoculars. People are reporting that they had to use

binoculars, and that didn't work. If you were a Republican poll watcher, you were treated

like a dog and the Democrats had no problem, but they were rough.



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       They were literally pushed out, and it was rough tactics. This is what happened here.

This is not the United States of America what happened, and I think everybody knows that.

That's why you're there, and that's why you're so vehement about it. We have many, many

cases, many, many cases of people walking in, an elderly woman walks in looking forward

to voting November 3rd and says, "Oh good. Where would I go about voting?" "I'm sorry.

You've already voted. Your ballot is in." They said, "No, I didn't vote. I didn't vote."

"No, your ballot is in. You've already voted." In all cases for Biden, by the way. She said,

"No, no, I want to vote." "Nope, your ballot is in." And then they give her a provisional

ballot to sign, which goes nowhere.

       It's a disgrace that this is happening to our country. We won this election by a lot.

We got 74 million votes. And if you would have said 74 million votes the day before the

election, every single professional in the business would have said there's no way of beating

that. We got 11 million votes more than we had four years before in 2016, and we got many

votes more than Ronald Reagan had when he won 49 States, that nobody would've said we

even had a chance of losing. And all you had to do is take a look at the numbers at 10

o'clock in the evening when everybody thought the election was virtually over, and then

very weird things happened.

       But they're not weird to profession als, and they're not weird to Dominion and other

people that operate machines. And they're not weird to the people that handle the ballots

where they were flooding the market. People were getting two and three and four ballots in

their home. People that were dead were signing up for ballots. Not only were they coming in




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and putting in a ballot, but dead people were requesting ballots and they were dead for years

and they were requesting ballots.

       The whole world is watching us. The whole world is watching the United States of

America and we can't let 'em get away with it. And we have Judges that are afraid to make

a decision. We have Judges that don't want to do the same thing. A very good lawyer said,

"Well, sir, I mean, that's a big statement for a Judge to overthrow an election." I said, "Re-

ally? If he got hundreds of thousands of votes more than he was entitled to get through all of

the things that I'm listening to right now, and you're just covering a few of them, we have

hundreds and hundreds of affidavits of stories that are even worse than the stories I'm hear-

ing. Why wouldn't they overturn an election?"

       Certainly, overturn it in your state, because we have other States that are just as bad.

If you look at Michigan with Detroit, you look at the things that happened in Detroit where

you have a voter, but you have more votes than you have voters. You take a look at Detroit,

Michigan, you have more votes than you have voters. Then you have two people that don't

want to certify. They don't want to certify, and they're harassed violently. And they turned

off the cameras during the harassment for two hours. Then they said, "Wow." And they

were afraid and they voted. Then they went back to sign and they couldn't do it because

they said, "We can't do it because this is corrupt. This is horrible what's taken place."

Think of it, more votes than you have voters, but that was the least of it. They have things

that were as bad as that. And this is going on all over, all over. We're doing very well in a

lot of States, a lot of good things are happening in Georgia. We're getting little help from




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government, but a lot of good things happening in Georgia, Wisconsin, and Michigan.

They're seeing what happened in Detroit.

        And we sure are looking at what's happening in Pennsylvania and Philadelphia.

What happened in Philadelphia, they keep the poll watchers not only in pens, but they keep

them out of the building. And the only reason they got back into the building was they got a

court order. Then the definition of "back into the building" was very far away where they

couldn't see anything. And they talk about closed circuit television, except you couldn't see

it because the picture was so unclear you didn't even know what they were doing. They

could have been playing a baseball game. So it's a very sad thing for our country to have

this.

        They have to turn over the results. It would be easy for me to say, "Oh, let's worry

about four years from now." No, this election was lost by the Democrats. They cheated. It

was a fraudulent election. They flooded the market. They defrauded everybody with ballots.

I just want to thank everybody for being there. You 're doing a tremendous service. This is a

very important moment in the history of our country, and you're doing a tremendous service

to our country. And don't worry about bravery because the people that talk the most, they're

not the ones you have to worry about. And these are all talkers, they intimidate, but these

are not people that you're going to ultimatel y have to ... They push you around. They pushed

our poll workers out. Our poll watchers were pushed out of the building. Some got back in,

they were put in pens, but these are not people ...

        Don't be intimidated by these people, but they're bad people. They're horrible peo-

ple, and they're people that don't love our country. So we don't have to worry about four



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years right now, we have to worry about what happened on November 3rd and previous to

November 3rd. And by the way, after November 3rd, when people put votes in and they put

'em in illegally, they put 'em in after the polls closed. And one of our great Supreme Court

Justices made mention of that. And I can't imagine that any Justice or anybody looking at it

could be thrilled when they vote after the election is over.

         So I want to thank everybody very much for being there. I want to thank the State

Senate, they're respected people, tremendous people. And you're doing a tremendous ser-

vice for our country. If something was done wrong, if this election was won fraudulently,

and that's what happened, it was a fraud. And we're talking about, very importantly, many

more ballots, many more votes than the number we need. In other words, if we needed

50,000 votes, we're not talking about we found nine dead people that voted. Of course, there

were many more than that, numbers that nobody even believes. No, we're talking about

numbers that are far in excess of the 50,000. Far in excess in another State where we lost by

10,000, and they went absolutely wild because we got far more votes than they thought pos-

sible.

         And they've just stepped on the gas. And they got caught, just like they got caught

spying on my campaign. They got caught exactly. They got caught doing this.

So I really appreciate it. And the country appreciates it, and we have to turn the election

over because there's no doubt. We have all the evidence. We have all the affidavits. We

have everything. All we need is to have some Judge listen to it properly without having a

political opinion or having another kind of a problem, because we have everything. And by

the way, the evidence is pouring in now as we speak.



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        And I want to thank Rudy Giuliani for having the courage to do this. There were a lot

of lawyers that backed down because they were being screamed at. Rudy is the greatest

Mayor in the history of New York, and there's a reason. He's got great courage and he

doesn't care. He wants to do what's right. And I told him the other day, "Rudy, you were

the greatest Mayor in the history of New York," and you see what happened to New York

without Rudy. You were the greatest Mayor, but this is more important. What you are doing
                                                                                            its
now is far more important than being a great Mayor of the City of New York and being

greatest Mayor by far. By the way, by far. This is going to be your crowning achievement,

because you 're saving our country. Thank you all very much. Thank you.



The Tweet:

"BIG NEWS: Pennsylvania Poll Watcher: USB Drive uploaded to machines, gave Biden

thousands of votes. Says 47 USB Drives are now missing. EVERY UPLOAD GAVE BIDEN

50,000 VOTES. @OANN"



The Letter (Appendix):

                                          Pennsylvania

    •   In Pennsylvania, as of February 2021, there were 121,240 more votes than voters. By

        law, Pennsylvania cannot certify an Election with this type of discrepancy.

    •   A lawsuit filed in Delaware County revealed video evidence of Election officials discuss-

        ing destroying Election evidence from November 2020. "It's a felony," one official says

        after talking about the need to "get rid" of voting "pads and second scanners." Videos and



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         sources involved in the litigation say the Delaware County officials "violated numerous

         Election laws and needed to hide evidence," and that the destruction of records was

         "done to ensure records eventually provided actually matched the Election results that

         were reported in Nov. 2020."

     •   Attorney General Bill Barr ordered U.S. Attorney Bill McSwain to stand down and not

         investigate Election irregularities, even after Mcswain reported that his office "received
                                                                                       4
         various allegations of voter fraud and election irregularities."



I.       Presidential Precedent

         Trump argues that Presidential immunity protects him from liability with respect to his

Gettysburg Hearing remarks and his tweet. The Court agrees.

         Presidential immunity was first directly addressed by the United States Supreme Court in

Nixon v. Fitzgerald. 457 U.S. 731 (1982). The Court held that, in light of"the special nature of

the President's constitutional office and functions" and in order to provide "the maximum ability

to deal fearlessly and impartially with the duties of his office," the President enjoys "absolute

immunity from civil damages liability predicated on his official acts." Id. at 749, 752, 756

(citations omitted). Specifically, in order to qualify for Presidential immunity, the conduct at

issue must fall "within the 'outer perimete r' of his official responsib ility." Id. at 756. The Court

observed that "diversion of [a President's] energies by concern with private lawsuits would raise

unique risks to the effective functioning of government." Id. at 751. It also recognized that "a

President must concern himself with matters likely to arouse the most intense feelings" and that


4 Trump moves for dismissal of the case because none of the statements mention Plaintiff by name. Plaintiff success-

fully counters that inferentially the statements refer to him. This is an issue for trial.

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examining the motivation behind a President's actions was to be avoided as "highly intrusive."

Id. at 752, 756 (citations omitted).

        In that case, the conduct at issue was President Nixon's allegedly retaliatory firing of A.

Ernest Fitzgerald, a management analyst with the Air Force, during a departmental

reorganization. The Court stated that analyzing the President's motive for his conduct was

improper; rather, because one of the President's duties was "the authority to prescribe

reorganizations and reductions in force," the firing fell within the outer perimeter of his official

responsibilities. Id. at 756-57.

        The High Court next took up the issue of Presidential immunity during President

Clinton's tenure in the Oval Office. In Clinton v. Jones, 520 U.S. 681 (1997), Paula Jones alleged

that, while Governor of Arkansas, Clinton sexually harassed her, and that a state police officer

and others under the President's control and in conspiracy with him made defamatory statements

about her when responding to reporters about the incident. In denying the President's request for

temporary Presidential immunity until his term ended, the Court found that the alleged sexual

misconduct "was unrelated to any of his official duties as President of the United States and,

indeed, occurred before he was elected to that office." Id. at 686. The Court noted, however, that

his public response to Jones' claims arguably was inside "the outer perimeter of the President's

official responsibilities." Id. 5 It concluded that "[w ]ith respect to acts taken in his 'public

characte r'-that is, official acts-the President may be disciplined primarily by impeachment,

not by private lawsuits for damages. But he is otherwise subject to the laws for his purely private

acts." Id. at 696.


5 Since the statements to reporters occurred before Clinton became President, the Court must have meant that the
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statements might have been protected by Presidential immunity had they been made during his Presidency

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       Since Clinton, the Supreme Court has not again addressed a claim of Presidential

immunity within the context of a civil damages lawsuit. But this may soon change. The Trump

Presidency, especially the events surrounding the 2020 election, has triggered a number of

lawsuits in which the former President has claimed Presidential immunity. See Thompson

v. Trump. 590 F.Supp.3d. 46 (D.D.C. 2022) (three consolidated cases brought under the Ku Klux

Klan Act by eleven members of Congress and two Capital Police Officers alleging that Trump
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and others acted in concert to prevent them from performing their duties on January 6 by

inciting the riot); Michigan Welfare Rights Org. v. Trump, CV 20-3388 (EGS), 2022 WL

17249218 (D.D.C. Nov. 28, 2022) (Michigan Welfare Rights Organization, the NAACP and two

voters allege under the Voting Rights Act and the Ku Klux Klan Act that Trump conspired with

others both to threaten and intimidate state election officials with regards to certifying the

election results and to disenfranchise and overturn the will of voters by installing Trump's own

slate of electors); Carroll v. Trump, 20-CV-7311 (LAK), 2023 WL 4393067 (S.D.N.Y. July 5,

2023) (accusation by Plaintiff that Trump defamed her in response to her allegations against him

of sexual assault).

       In these cases, none of which have yet to go to trial and all of which are currently on

appeal, the test for Presidential immunity has been put to the test. In Thompson, Judge Mehta

stated that "this is not an easy issue," and that "[t]o deny a President immunity is no small step."

590 F. Supp at 74, 83. She recognized that "speech is unquestionably a critical function of the

presidency." Id. at 79. And she found that the issue of election integrity with respect to the 2020

Presidential election was a matter of public concern. Id. at 79. But she stressed that speaking on a

matter of public concern does not automatically confer Presidential immunity upon the President:



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                                                                                                           is
"The context in which those words are spoken and what is said matter." Id. at 79-80 (emphas

omitted).

       Judge Mehta next rejected a test of Presidential immunity that hinged on whether the

President was acting as the President or as a candidate: "[T]he line between President and
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candidate will not always be clear," and a "first-term President is always, in a sense, a candida
                                                                                                         test
for office." Id. at 80. She also reiterated the Supreme Court's admonition in Nixon that the
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for immunity cannot depend on the motive of the President. Id. at 81.

        Judge Mehta decided that "in evaluating a Presidential claim of absolute immunity, a

court must consider the relationship of the challenged conduct to the claimed corresponding
                                                                                                        direct
function of the President." Id. at 82. She found that Trump's criticism of state officials, his
                                                                                                               his
contact with local election officials and state legislators in States including Pennsylvania, and
                                                                                           and
conduct regarding the January 6 riot were "plainly [... ] directed at securing incumbency"
                               th


                                                                                                         ts
thus were "not official acts." Id. at 82-83. Likewise, she found that the President's commen

about alleged election fraud "reflected an electoral purpose." Id. at 83. She thus denied Trump

Presidential immunity. Id. at 84-85.

         Similarly, in Michigan Welfare Rights, Judge Sullivan concluded that Trump's alleged
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conduct was for a solely personal, political, and thus unofficial purpose, namely, remaining
                                                                                                                    n
office, and that such activity was "well beyond the contours of presidential immunity." Michiga
                                                                                                         that
Welfare Rights at *12. Given the alleged threats and intimation, he rejected Trump's claim

the contesting of election results was to defend the Constitution. Id. at *13.




                                                                                           line between [the
6
 See also Trump v. Mazars USA,140 S. Ct. 2019, 2034 (2020) ("[T]here is not always a clear
President's] personal and official affairs.").

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       In Carroll, Judge Kaplan found that while publicly responding to the plaintiff's

allegations might be part of Trump's official responsibilities, his personal attacks against her

were not. Carroll at * 10-11. He clarified that he was not examining Trump's underlying

motivation; rather, "the act itself [of] accusing an individual who has charged the president with

a personal wrongdoing of fabricating the charge for ulterior and improper purposes" fell outside

"the outer perimeter of the president's official responsibility." Id. at* 11. He further stated that

Presidential immunity "is not a 'get out of damages liability free' card that permits the President

to say or do anything he or she desires even if that conduct is disconnected entirely from an

official function." Id. Accordingly, he held that Trump was not entitled to such immunity. Id. at

*10-11.



II.     Present Proceeding

        Speaking to the public on matters of public concern is part of a President's official duties.

Indeed, the President's use of the "bully pulpit" to address the Nation has historically been an

important feature of the office. See Trump v. Hawaii, 138 S. Ct. 2392, 2417-18 (2018) ("The

President of the United States possesses an extraordinary power to speak to his fellow citizens

and on their behalf."). As the United States Department of Justice recently argued during the

Thompson appeal:

        The traditional "bully pulpit" of the Presidency [... ] is not limited to speech
        concerning matters for which the President himself bears constitutional or statutory
        responsibility. The public looks to the President, as leader of the Nation, for
        guidance and reassurance even on matters over which the Executive Brance- or
        the federal government as a whole-h as no direct control. From the actions of
        Congress and the Judiciary, to the policies of state and local governments, to the
        conduct of private corporations and individuals, the President can and must engage
        with the public on matters of public concern. Such speech is an important traditional


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       function of the Presidency, and it would offend the constitutional separation-of-
       powers principles recognized in Nixon for courts to superintend the President's
       speech to his constituents and to other officeholders by entertaining civil damages
       suits arising out of speech merely because it concerns the conduct of a coordinate
       Branch or an entity outside the federal government.

Brief for United States asAmicus Curiae at 12, Thompson v. Trump, Nos. 22-5069. 22-7030, 22-

7031 (D.C. Cir. argued Dec. 7, 2022).

       Here, then-President Trump's Gettysburg remarks and his tweet were public. Moreover,

the topic of these statements -claims from third parties and the President himself about

irregularities in the Presidential election which on their face called into question the integrity of

the election and whether now-President Joseph Biden had been duly elected-w as undoubtedly a

matter of great public concern. See Snyder v Phelps, 562 U.S. 443,453 (2011) ("Speech deals

with matters of public concern when it can be fairly considered as relating to any matter of

political, social or other concern to the community or when it is a subject of legitimate news

interest.") (Internal quotation marks and citations omitted).

       Trump's assertions of course stood to benefit him personally. The stakes could not have

been higher with respect to his political future and his status as "leader of the free world." But

that does not mean that they were outside the "outer perimeter of his official responsibility."

Nixon, 457 U.S. at 756. This is so notwithstanding the following:

        1) Trump himself may have sowed the seeds of doubt about the integrity of the election

well before it took place.

        2) No court has yet to find any widescale fraud or significant vote tally inaccuracies

regarding the election. 7


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 See, M.c, JOHN DANFORTH ET AL., LOST, NOT STOLEN: THE CONSERVATIVE CASE THAT TRUMP
LOST AND BIDEN WON THE 2020 PRESIDENTIAL ELECTIONS I (2022) (group of eight conservative fonner

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          3) Trump's motivation behind his statements could have been to overturn the election

results even if he actually believed that he had fairly lost.

          Determining Trump's mindset when he said what he said is not the role of the Court. See

Nixon, 457 U.S. at 756. Neither is it the Court's place to assess the wisdom of his comments. On

their face, his remarks dealt with the cornerstone of our democra cy-electi ons. Indeed, his

responsibilities as President include taking care that the laws be faithfully executed and, per his
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oath of office, defending the Constitution. U.S. CONST. art. II,§§ 1,3. Other legal proceedings
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may examine the propriety of his statements and actions while he was the President and whether,

as the plaintiffs in this and other cases contend, it was this conduct which served as the actual




                                                                                                                               the time of
judges, Republican Senators and Republican-appointed officials find that none of the 64 lawsuits filed at
                                                                                          to  invalidate    the  results    of the 2020
their report "present evidence of fraud or inaccurate results significant enough
                                                                                     ia resulted     in a  victory    for  the  plaintiffs.
Presidential Election"). Of those cases, only 2 of the 19 filed in Pennsylvan
                                                                    the  deadline for  accepting      verifying    identificati    on in
One involved the Pennsylvania Secretary of State extending
                                                       for  President  v. Boockvar,   No.    602   MD    2020   (Pa.    Commw.        Ct.
contravention of a state statute, Donald J. Trump
                                        the Secretary   allowing   provisional  ballots  to  be  submitted,     rather    than   segre-
Nov. 12, 2020). The other involved
                                                                                                                                        600
gated, where the corresponding absentee or mail-in ballots were presumed to be deficient, Hamm v. Boockvar,
                              Ct. 2020) In both  cases,  a state court enjoined  the  Secretary     from    taking    these  actions     and
M.D. 2020 (Pa. Commw.
                                                                                                                       tally.  While
ordered that the ballots in question be segregated. Thus, her actions did not affect the ultimate vote
                                                                                                                                          to
some of the lawsuits addressed in the Danforth report had an evidentiary hearing before a Judge, none proceeded
                                                                                    jury    is asked    to  decide    whether     there   was
a jury trial. Interestingly, the instant matter could thus mark the first time a
fraud in the 2020 Presidential election.
                                                                                                                                     is "to
8
  See Nixon, 457 U.S. at 750 (citing U.S. CONST. art. II,§ 3) (one of the President's official responsibilities
                                                     ; but  see  Thompson,   590  F.  Supp.    at  78  (interpretin    g the  Take     Care
take Care that the Laws be faithfully executed")
 Clause only to apply to actions    taken by the  Executive    Branch).
                                                                                                                                   be im-
9
  Can a President publicly say whatever he or she wants if it touches on a matter of public concern and still
                                                                                                           the President's       speech    to
 mune from civil damages liability? Maybe. After all, allowing judges and juries to referee
                                                                                                   with  the  duties    of  his  office,"
 his constituents could hamstring his or her "ability to deal fearlessly and impartially
                                                                                                                                   criminal
 Nixon, 457 U.S. at 752. Moreover, immunity from liability in a civil matter does not bar impeachment and
                                                                                made  that,   as  Judges    Mehta     and   Kaplan     de-
 prosecution as other possible sanctions. But a strong argument can be
                                                                           responsibil  ity,  can   nevertheles    s  cross   beyond     the
 cided, the President, though otherwise acting in an area ofofficial
 "outer perimeter" - say, for example, by encouragin       g  an insurrection . Even  under    this   framework     ,  however,
 Trump's remarks at Gettysburg and in his tweet were in bounds. Thus, the Court need not decide this important
 question about the contours of Presidential immunity.

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                                                                                          10 Here, Trump is entitled
threat to our democracy. But this case is not the proper place to do so.

to Presidential immunity.




                                                                                                      BY THE COURT:




                                                                                               MICHAEL ERDOS, J.



DATE: July 31, 2023




10
  That said, Plaintiff has not lost his right at trial to demonstrate Trump's thinking. In fact, proofofth e requisite
                                                                                                                   which state-
mens rea is an element of both defamation and false light in Pennsylvania. Presidential immunity limits
                                                       shield a Defendant   from a deeper  dive  into  those allegedly  unlaw-
ments can form the basis of liability but does not
                                          exists. Thus,  as with the other  Defendants and   their statements,   Plaintiff can
ful statements for which no immunity
                                       not  only  Trump's   2022  letter to Congress and  the  harm   it caused him,  but  also
present evidence to a jury regarding
Trump's knowledge, beliefs and motivation when he sent it.

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